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12
                                    UNITED STATES DISTRICT COURT
13
                                CENTRAL DISTRICT OF CALIFORNIA
14
   THERABODY, INC., a Delaware                     Case No. 2:21-cv-09882
15 corporation,
                                                   COMPLAINT FOR:
16                     Plaintiff,
                                                   1.) FEDERAL FALSE
17                v.                               DESIGNATION OF ORIGIN, 15
                                                   U.S.C. § 1125(a);
18 HOMEDICS USA, LLC; FKA
   DISTRIBUTING CO., LLC d/b/a                     2.) FEDERAL UNFAIR
19 HOMEDICS LLC,; and DOES 1                       COMPETITION, 15 U.S.C. § 1125(a)
   through 10, inclusive,
20                                                 3.) COMMON LAW TRADE DRESS
                Defendants.                        INFRINGEMENT;
21
                                                   4.) INFRINGEMENT OF U.S.
22                                                 PATENT NOS. 10,702,448,
                                                   10,857,064, 10,918,565, 11,160,722,
23                                                 D921,914, D880,714, D880,715,
                                                   D885,601, D887,573, D880,716,
24                                                 D896,396, D879,985, D879,986,
                                                   D884,915; D849,260; AND
25
                                                   5.) UNFAIR BUSINESS
26                                                 PRACTICES, CAL. BUS. & PROF.
                                                   CODE § 17200 ET SEQ.
27
                                                   DEMAND FOR JURY TRIAL
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  1                Plaintiff Therabody, Inc. ("Therabody") files this complaint against defendants
  2 Homedics USA, LLC ("Homedics") and FKA Distributing Co., LLC d/b/a HoMedics
  3 ("FKA") and Does 1-10, inclusive (collectively "Defendants").
  4                                           THE PARTIES
  5                1.    Therabody is, and at all times relevant hereto was, a corporation duly
  6 organized and existing under the laws of the state of Delaware, with its principal place
  7 of business at 6100 Wilshire Blvd., Ste. 200, Los Angeles, CA 90048.
  8                2.    Therabody is informed and believes and, based thereon, alleges that
  9 Homedics USA, LLC is a limited liability company organized under the laws of
10 Michigan with regular and established places of business in California located at
11 12215 Holly St. N., Riverside, California 92509, and in El Segundo, California.
12                 3.    Therabody is informed and belies and, based thereon, alleges, that FKA
13 Distributing Co., LLC d/b/a/ HoMedics is a limited liability company organized under
14 the laws of Michigan, with regular and established places of business in California
15 located at 12215 Holly St. N., Riverside, California 92509, and in El Segundo,
16 California.
17                 4.    Therabody is ignorant of the true names and capacities of Defendants
18 sued herein as Does 1 through 10, inclusive, and therefore sues these Defendants by
19 such fictitious names and capacities. Therabody will amend this Complaint to allege
20 their true names and capacities when ascertained, along with the appropriate charging
21 allegations.
22                 5.    Therabody is informed and believes and thereon alleges that Defendants
23 are manufacturing, using, selling, or offering for sale within the United States, or
24 importing into the United States the infringing percussive massage devices described
25 below.
26                 6.    Therabody is informed and believes and thereon alleges that each of the
27 Defendants conspired and acted in concert with one or more other Defendants to
28 commit the wrongs against Therabody alleged herein, and in doing so were at all

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  1 relevant times the agents, servants, employees, principals, joint venturers, alter egos,
  2 and/or partners of each other. Therabody is further informed and believes and on that
  3 basis alleges that, in doing the things alleged in this Complaint, each of the Defendants
  4 was acting within the scope of authority conferred upon that Defendant by the
  5 consent, approval, and/or ratification of one or more of the other Defendants.
  6                                  JURISDICTION AND VENUE
  7                7.   This is an action for (a) trademark and trade dress infringement under
  8 Section 43 of the Lanham Act, 15 U.S.C. §§ 1114, 1125; (b) trademark and trade dress
  9 infringement under the laws of the state of California; (c) patent infringement under
10 the patent laws of the United States, 35 U.S.C. § 271; and (d) unfair competition
11 pursuant to California Business and Professions Code Section 17200, et seq.
12                 8.   This Court has subject matter jurisdiction over the trade dress and patent
13 claims in this action pursuant to 28 U.S.C. §1338(a) and 15 U.S.C. §1121. This Court
14 has supplemental jurisdiction over the remaining state law claims under 28 U.S.C.
15 §1367 because the claims are so related to Therabody's claims under federal law that
16 they derive from a common nucleus of operative fact and form part of the same case
17 or controversy.
18                 9.   This Court has personal jurisdiction over Defendants and venue is proper
19 in this District pursuant to 28 U.S.C. § 1400(b). Therabody is informed and believes
20 and, based thereon, alleges that, all Defendants have offices in this judicial district
21 and have committed acts of infringement, including the making, using, selling,
22 offering to sell, and importing into the United States their infringing products in or to
23 this District and/or to businesses and individuals in this District. Therabody is further
24 informed and believes and, based thereon, alleges that Defendants derive substantial
25 revenue from the distribution, promotion, marketing, manufacture, use, sale, offer for
26 sale, or import of infringing products in or to this District.
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  1                                    GENERAL ALLEGATIONS
  2                10.   Therabody is in the business of developing, manufacturing, and selling
  3 high-quality, innovative percussive therapy devices and attachments therefor.
  4 Therabody invests considerable time, effort and money in developing and protecting
  5 its intellectual property, including patenting its innovative products.
  6                11.   Therabody is in the business of developing, manufacturing and selling
  7 high-quality, innovative percussive therapy devices. Therabody invests considerable
  8 time, effort, and money in developing and protecting its intellectual property,
  9 including the trade dress of its products.
10                 12.   Since at least as early as May 31, 2015, Therabody has used a
11 distinctive blue color in presenting its trademarks, in its marketing and advertising,
12 and on its percussive massage devices.
13                 13.   As a result of the use of its distinctive blue color, Therabody has
14 developed trade dress rights in the blue color, the use of which is pervasive on
15 Therabody's website, advertising, and as applied to its percussive massage devices
16 and packaging as specifically described below (the "Blue Trade Dress").
17                 14.   Therabody's distinctive blue color used to depict textual elements on
18 black product packaging, as shown, for example, in the images below:
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25                 15.   Therabody has applied its distinctive blue color to substantially all of the
26 handle portion of its percussive massage devices, as shown in the image below.
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  7                16.   Therabody has also applied its distinctive blue color to the entirety of the
  8 inner side of the handle portion of its percussive massage devices, as shown below:
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16                 17.   Therabody has applied its distinctive color blue as an accent color on its
17 percussive massage devices, as shown in the images below, namely, in a band
18 encircling the arm to which the massage head attachments are attached and to the
19 circle above said arm.
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25                 18.   The Blue Trade Dress comprises the application of Therabody's
26 distinctive color of blue to various parts of its products or packaging, as shown in the
27 images in paragraphs 14-17, above. The Blue Trade Dress is not functional: it does
28 not provide a utilitarian advantage, a plethora of alternatives colors are available for

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  1 use, and its use is not the result of a simple or inexpensive method of manufacture.
  2 Therabody selected and uses the color blue for the purpose of identifying its products
  3 and distinguishing them from the products of third parties.
  4                19.   The Blue Trade Dress is either inherently distinctive, or, through
  5 Therabody's continuous use and promotion, has acquired distinctiveness, and the Blue
  6 Trade Dress is uniquely associated with Therabody and its percussive massage
  7 devices. Therabody has used its unique color blue continuously since it launched its
  8 first percussive massage device. The blue accents, described above, are applied to
  9 numerous Therabody products, and Therabody's use of the color blue is consistent
10 and pervasive.
11                 20.   Therabody has sold millions of dollars of products bearing its distinctive
12 color blue. It has spent millions of dollars to promote its products bearing its
13 distinctive color blue. Therabody products bearing the Blue Trade Dress and/or
14 Therabody's distinctive blue color are used by numerous celebrities and professional
15 athletes, have been the subject of extensive press and advertising, and have been used
16 on the field during a Super Bowl and on the court during the NBA Finals. As a result
17 of Therabody's extensive advertising and promotion and the widespread, and high
18 profile, use of Therabody's Blue Trade Dress, including as described above,
19 Therabody's Trade Dress is associated by the public exclusively with Therabody and
20 its products and is used by the public as an indicator of the origin and quality of
21 Therabody's percussive massage devices.
22                 21.   Additionally, Defendants' have copied Therabody's Blue Trade Dress, as
23 have third parties. Such copying is further evidence that Therabody's Blue Trade
24 Dress has secondary meaning.
25                 22.   Since at least as early as January 2019, Therabody has used a distinctive
26 triangle product design trade dress, examples of which are shown below (the
27 "Triangle Trade Dress").
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10                 23.   The Triangle Trade Dress, shown in the above images, features: (1) a
11 percussive massage device generally in the shape of a triangle; (2) a circular design
12 or "head" at one corner of the triangle; and (3) an arm to which massage head
13 attachments are attached extending from the circular head.
14                 24.   Therabody introduced the Triangle Trade Dress with its third-generation
15 percussive massage devices, which were introduced at least as early as January 2019.
16 Therabody's line of third-generation percussive massage devices included devices
17 available at three price points. All three of Therabody's third-generation percussive
18 massage devices featured the Triangle Trade Dress.
19                 25.   Therabody has developed trade dress rights in the Triangle Trade Dress.
20 The Triangle Trade Dress is not functional: it does not provide a utilitarian advantage,
21 a plethora of alternative product shapes and designs are available for use, and their
22 use is not the result of a simple or inexpensive method of manufacture. Therabody
23 selected the elements of the Triangle Trade Dress for the purpose of identifying its
24 products and distinguishing them from the products of third parties.
25                 26.   The Triangle Trade Dress is either inherently distinctive or, through
26 Therabody's continuous use and promotion, has acquired distinctiveness, and the
27 Triangle Trade Dress is uniquely associated with Therabody and its percussive
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  1 massage device. Therabody has used the Triangle Trade Dress since it introduced its
  2 third-generation percussive massage devices at least as early as January 2019.
  3                27.   Therabody has sold millions of dollars of products bearing its distinctive
  4 Triangle Trade Dress. It has spent millions of dollars to promote its products bearing
  5 its Triangle Trade Dress. Therabody products bearing the Triangle Trade Dress are
  6 used by numerous celebrities and professional athletes and have been the subject of
  7 extensive press and advertising. As a result of Therabody's extensive advertising and
  8 promotion and the widespread, and high profile, use of Therabody's Triangle Trade
  9 Dress are associated by the public exclusively with Therabody and its products and
10 are used by the public as indicators of the origin and quality of Therabody's percussive
11 massage device.
12                 28.   Additionally, Defendants' have copied Therabody's Triangle Trade
13 Dress as have numerous third parties. Such copying is further evidence that
14 Therabody's Triangle Trade Dress has secondary meaning.
15                 29.   Therabody is a pioneer in the percussive massage therapy device market
16 and, by delivering premier-quality products using its Triangle Trade Dress.
17 Therabody has established a reputation for providing outstanding massage therapy
18 products and customer service associated with that trade dress and those trademarks.
19 Consumers have come to recognize that trade dress and those trademarks as indicators
20 of excellence and as uniquely identifying Therabody as the source of the products and
21 services associated in connection with which they are used.
22                                           Therabody's Patents
23                 30.   Therabody is the owner of United States Patent Number 10,702,448,
24 entitled "Percussive massage device and method of use" (hereinafter the "'448
25 Patent"), issued on July 7, 2020, a true and correct copy of which is attached hereto
26 as Exhibit A. The '448 Patent pertains to a vibrating massage device or percussive
27 massage device that provides reciprocating motion. The '448 Patent is presumed to be
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  1 valid and is prima facie proof that the inventions claimed in the '448 Patent are novel
  2 and non-obvious.
  3                31.   Therabody is the owner of United States Patent Number 10,918,565,
  4 entitled "Percussive massage device and method of use" (hereinafter the "'565
  5 Patent"), issued on February 16, 2021, a true and correct copy of which is attached
  6 hereto as Exhibit B. The '565 Patent pertains to a vibrating massage device or
  7 percussive massage device that provides reciprocating motion. The '565 Patent is
  8 presumed to be valid and is prima facie proof that the inventions claimed in the '565
  9 Patent are novel and non-obvious.
10                 32.   Therabody is the owner of United States Patent Number 10,857,064,
11 entitled "Percussive Therapy Device" (hereinafter the "'064 Patent"), issued on
12 December 8, 2020, a true and correct copy of which is attached hereto as Exhibit C.
13 The '064 Patent pertains to a percussive massage device and method of using a
14 percussive massage device. The '064 Patent is presumed to be valid and is prima facie
15 proof that the inventions claimed in the '064 Patent are novel and non-obvious.
16                 33.   Therabody is the owner of United States Patent Number 11,160,722,
17 entitled "Percussive Massage Device and Method of Use" (hereinafter the "'722
18 Patent"), issued on November 2, 2021, a true and correct copy of which is attached
19 hereto as Exhibit D. The '722 Patent pertains to a percussive massage device and
20 method of using a percussive massage device. The '722 Patent is presumed to be valid
21 and is prima facie proof that the inventions claimed in the '722 Patent are novel and
22 non-obvious.
23                 34.   On June 8, 2021, the United States Patent and Trademark Office issued
24 United States Patent Number D921,914 , entitled "Percussive Massage Device"
25 (hereinafter the " 'D914 Patent"). A true and correct copy of the 'D914 Patent is
26 attached hereto as Exhibit E.
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   1                35.   Therabody is the owner of the 'D914 Patent. The 'D914 Patent is
   2 presumed to be valid and is prima facie proof that the design shown in the 'D914
   3 Patent is novel and non-obvious.
   4                36.   The 'D914 Patent pertains to a particular ornamental design for a
   5 therapeutic percussive massage device.
   6                37.   On April 7, 2020, the United States Patent and Trademark Office issued
   7 United States Patent Number D880,714, entitled "Percussive Massage Device"
   8 (hereinafter the " 'D714 Patent"). A true and correct copy of the 'D714 Patent is
   9 attached hereto as Exhibit F.
 10                 38.   Therabody is the owner of the 'D714 Patent. The 'D714 Patent is
 11 presumed to be valid and is prima facie proof that the design shown in the 'D714
 12 Patent is novel and non-obvious.
 13                 39.   The 'D714 Patent pertains to a particular ornamental design for a
 14 therapeutic percussive massage device.
 15                 40.   On April 7, 2020, the United States Patent and Trademark Office issued
 16 United States Patent Number D880,715, entitled "Percussive Massage Device"
 17 (hereinafter the " 'D715 Patent"). A true and correct copy of the 'D715 Patent is
 18 attached hereto as Exhibit G.
 19                 41.   Therabody is the owner of the 'D715 Patent. The 'D715 Patent is
 20 presumed to be valid and is prima facie proof that the design shown in the 'D715
 21 Patent is novel and non-obvious.
 22                 42.   The 'D715 Patent pertains to a particular ornamental design for a
 23 therapeutic percussive massage device.
 24                 43.   On May 26, 2020, the United States Patent and Trademark Office issued
 25 United States Patent Number D885,601, entitled "Percussive Massage Device"
 26 (hereinafter the " 'D601 Patent"). A true and correct copy of the 'D601 Patent is
 27 attached hereto as Exhibit H.
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   1                44.   Therabody is the owner of the 'D601 Patent. The 'D601 Patent is
   2 presumed to be valid and is prima facie proof that the design shown in the 'D601
   3 Patent is novel and non-obvious.
   4                45.   The 'D601 Patent pertains to a particular ornamental design for a
   5 therapeutic percussive massage device.
   6                46.   On June 16, 2020, the United States Patent and Trademark Office issued
   7 United States Patent Number D887,573, entitled "Percussive Massage Device"
   8 (hereinafter the " 'D573 Patent"). A true and correct copy of the 'D573 Patent is
   9 attached hereto as Exhibit I.
 10                 47.   Therabody is the owner of the 'D573 Patent. The 'D573 Patent is
 11 presumed to be valid and is prima facie proof that the design shown in the 'D573
 12 Patent is novel and non-obvious.
 13                 48.   The 'D573 Patent pertains to a particular ornamental design for a
 14 therapeutic percussive massage device.
 15                 49.   On April 7, 2020, the United States Patent and Trademark Office issued
 16 United States Patent Number D880,716, entitled "Percussive Massage Device"
 17 (hereinafter the " 'D716 Patent"). A true and correct copy of the 'D716 Patent is
 18 attached hereto as Exhibit J.
 19                 50.   Therabody is the owner of the 'D716 Patent. The 'D716 Patent is
 20 presumed to be valid and is prima facie proof that the design shown in the 'D716
 21 Patent is novel and non-obvious.
 22                 51.   The 'D716 Patent pertains to a particular ornamental design for a
 23 therapeutic percussive massage device.
 24                 52.   On September 15, 2020, the United States Patent and Trademark Office
 25 issued United States Patent Number D896,396, entitled "Percussive Massage Device"
 26 (hereinafter the " 'D396 Patent"). A true and correct copy of the 'D396 Patent is
 27 attached hereto as Exhibit K.
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   1                53.   Therabody is the owner of the 'D396 Patent. The 'D396 Patent is
   2 presumed to be valid and is prima facie proof that the design shown in the 'D396
   3 Patent is novel and non-obvious.
   4                54.   The 'D396 Patent pertains to a particular ornamental design for a
   5 therapeutic percussive massage device.
   6                55.   On March 31, 2020, the United States Patent and Trademark Office
   7 issued United States Patent Number D879,985, entitled "Percussive Massage Device"
   8 (hereinafter the " 'D985 Patent"). A true and correct copy of the 'D985 Patent is
   9 attached hereto as Exhibit L.
 10                 56.   Therabody is the owner of the 'D985 Patent. The 'D985 Patent is
 11 presumed to be valid and is prima facie proof that the design shown in the 'D985
 12 Patent is novel and non-obvious.
 13                 57.   The 'D985 Patent pertains to a particular ornamental design for a
 14 therapeutic percussive massage device.
 15                 58.   On March 31, 2020, the United States Patent and Trademark Office
 16 issued United States Patent Number D879,986, entitled "Percussive Massage Device"
 17 (hereinafter the " 'D986 Patent"). A true and correct copy of the 'D986 Patent is
 18 attached hereto as Exhibit M.
 19                 59.   Therabody is the owner of the 'D986 Patent. The 'D986 Patent is
 20 presumed to be valid and is prima facie proof that the design shown in the 'D986
 21 Patent is novel and non-obvious.
 22                 60.   The 'D986 Patent pertains to a particular ornamental design for a
 23 therapeutic percussive massage device.
 24                 61.   On May 19, 2020, the United States Patent and Trademark Office issued
 25 United States Patent Number D884,915, entitled "Percussive Massage Device"
 26 (hereinafter the " 'D915 Patent"). A true and correct copy of the 'D915 Patent is
 27 attached hereto as Exhibit N.
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   1                62.   Therabody is the owner of the 'D915 Patent. The 'D915 Patent is
   2 presumed to be valid and is prima facie proof that the design shown in the 'D915
   3 Patent is novel and non-obvious.
   4                63.   The 'D915 Patent pertains to a particular ornamental design for a
   5 therapeutic percussive massage device.
   6                64.   On May 21, 2019, the United States Patent and Trademark Office issued
   7 United States Patent Number D849,260, entitled "Massage Element" (hereinafter the
   8 " 'D260 Patent"). A true and correct copy of the 'D260 Patent is attached hereto as
   9 Exhibit O.
 10                 65.   Therabody is the owner of the 'D260 Patent. The 'D260 Patent is
 11 presumed to be valid and is prima facie proof that the design shown in the 'D260
 12 Patent is novel and non-obvious.
 13                 66.   The 'D260 Patent pertains to a particular ornamental design for a
 14 particular ornamental design for an attachment for percussive massage devices.
 15 Collectively, the '448, '565, '064, '722, 'D914, 'D714, 'D715, 'D601, 'D573, 'D716,
 16 'D396, 'D985, 'D986, 'D915, and 'D260 Patents are "Asserted Patents."
 17                 67.   Therabody's patented and patent-pending devices are innovative and
 18 have received industry praise and recognition, including the 2019 A' Design Award
 19 in Digital and Electronic Devices Design for its Therabody G3PRO design.
 20                 68.   Therabody is informed and believes and based thereon alleges that
 21 Defendants began competing with Therabody in the percussive massage device
 22 industry by manufacturing and selling percussive massage devices infringing the
 23 Asserted Patents. Specifically, Defendants are marketing, promoting, advertising,
 24 using, selling, offering to sell, and/or importing the infringing device, the "Therapist
 25 Select DuoTemp Pro Percussion Massager," shown below (the "Infringing
 26 Product") and attachment circled in red ("Infringing Attachment").
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 11                 69.   The Infringing Product and Infringing Attachment are integral to
 12 Defendants' product offering as shown from the Defendants' website at
 13 www.HOMEDICS.COM.                   From this, it is apparent that Defendants have been
 14 actively advertising the Infringing Product, touting the products throughout a variety
 15 of markets and to numerous audiences, including on Amazon.1                Therabody is
 16 informed and believes that Defendants sell their Infringing Product in the same
 17 marketing channels as Therabody, including online through their respective websites
 18 and through social media advertising.
 19                 70.   On December 15, 2021, Therabody notified Defendants Homedics and
 20 FKA by letter that the Infringing Product was infringing Therabody's Trade Dress and
 21 '448, '064, '722 and 'D260 patents and demanded that Defendants immediately cease
 22 and permanently discontinue all manufacture, offer for sale, sale, use and importation
 23 of the Infringing Product.
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 27    1
      See https://www.amazon.com/Percussion-Interchangeable-Attachments-Technology-High-
 28 Intensity/dp/B09L9BGHC9/ref=sr_1_11?crid=184MTE7Y61TXM&keywords=homedics+percuss
    ion+massager&qid=1639723441&sprefix=homedics+per%2Caps%2C159&sr=8-11
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   1                71.   Notwithstanding Therabody's demand and in conscious disregard of
   2 Therabody's intellectual property rights as set forth herein, Defendants have continued
   3 to offer for sale and sell the Infringing Product.
   4                                    FIRST CAUSE OF ACTION
   5                          False Designation of Origin, 15 U.S.C. § 1125(a)
   6                                       (Against All Defendants)
   7                72.   Therabody realleges and incorporates by reference all foregoing
   8 paragraphs as if fully set forth herein. Therabody uses its Blue Trade Dress and
   9 Triangle Trade Dress (referred to herein collectively as the "Trade Dress") in
 10 commerce on and in connection with its percussive massage devices, accessories
 11 therefor, and the advertising and promotion of the same. Therabody's Trade Dress,
 12 described above, is comprised of distinctive features which are protected under
 13 Lanham Act § 43(a). Therabody's Trade Dress is either inherently distinctive or, as a
 14 result of its use, has acquired secondary meaning whereby the relevant consuming
 15 public and the trade associate these features with a single source.
 16                 73.   Defendants have used in commerce trade dress that is confusingly
 17 similar to Therabody's unique and protectable Trade Dress (hereinafter the
 18 "Infringing Trade Dress"), on and in connection with their sale of percussive
 19 massage devices and accessories therefor, including the use of (1) a percussive
 20 massage device generally in the shape of a triangle, (2) a circular design or "head" at
 21 one corner of the triangle, and (3) an arm to which massage head attachments are
 22 attached extending from the circular head, as well as the use of blue as an accent
 23 color on the Infringing Product.
 24                 74.   Defendants' conduct alleged herein constitutes a false designation of
 25 origin and/or a false or misleading description and/or representation of fact, which is
 26 likely to deceive or to cause confusion or reverse confusion or mistake among
 27 consumers as to the origin, sponsorship, or approval of the Defendants' goods and
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   1 services and/or deceive or to cause confusion or mistake among consumers as to the
   2 affiliation, connection, or association between Defendants and Therabody.
   3                75.   Defendants' conduct described herein was knowing, willful, intentional,
   4 deliberate, and in total disregard of Therabody's rights. The knowing and intentional
   5 nature of the acts set forth herein renders this an exceptional case under 15 U.S.C.
   6 § 1117(a).
   7                76.   As a direct and proximate cause of Defendants' unlawful, intentional,
   8 and willful conduct, Therabody has been and will continue to be irreparably harmed
   9 unless Defendants are permanently enjoined from such unlawful conduct. Therabody
 10 has no adequate remedy at law. Unless enjoined, Defendants will continue to mislead
 11 and confuse consumers as to the origin, sponsorship, or approval of Defendants'
 12 goods and services and/or deceive or cause confusion or mistake among consumers
 13 as to the affiliation, connection, or association between Defendants and Therabody.
 14                 77.   Therabody lacks an adequate remedy at law. In light of the foregoing,
 15 Therabody is entitled to a permanent injunction prohibiting Defendants from using
 16 the Infringing Trade Dress, and any marks or trade dress confusingly similar to the
 17 Trade Dress, and to recover from Defendants all damages that Therabody has
 18 sustained and will sustain, and all gains, profits, and advantages obtained by
 19 Defendants as a result of their infringing acts alleged above in an amount not yet
 20 known, and the costs of this action pursuant to 15 U.S.C. § 1117(a).
 21                 78.   Pursuant to 15 U.S.C. § 1118, Plaintiff is entitled to, and hereby seeks,
 22 an order for the destruction of all materials bearing the Infringing Trade Dress, or any
 23 other trade dress confusingly similar to Therabody's Trade Dress.
 24                                   SECOND CAUSE OF ACTION
 25                          Federal Unfair Competition, 15 U.S.C. § 1125(a)
 26                                        (Against All Defendants)
 27                 79.   Therabody realleges and incorporates by reference all foregoing
 28 paragraphs as if fully set forth herein.

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   1                80.   Defendants have deliberately and willfully attempted to capitalize on
   2 Therabody's goodwill and reputation established in connection with the Therabody
   3 Trade Dress by misleading, confusing, or deceiving consumers as to source, source,
   4 origin, affiliation, approval, sponsorship, and/or association, including by copying
   5 and using each element of the Trade Dress.
   6                81.   Defendants have engaged in, and continue to engage in, their unlawful,
   7 intentional, and willful conduct without Therabody's permission or consent.
   8                82.   As a direct and proximate cause of Defendants' unlawful, intentional, and
   9 willful conduct, Therabody has been and will continue to be irreparably harmed unless
 10 Defendants are permanently enjoined from such unlawful conduct. Therabody has no
 11 adequate remedy at law. Unless enjoined, Defendants will continue their unlawful,
 12 intentional, and willful conduct.
 13                 83.   In light of the foregoing, Therabody is entitled to a permanent injunction
 14 prohibiting Defendants from using the Infringing Trade Dress, and any marks or trade
 15 dress confusingly similar to the Trade Dress, and to recover from Defendants all
 16 damages that Therabody has sustained and will sustain, and all gains, profits, and
 17 advantages obtained by Defendants as a result of its infringing acts alleged above in
 18 an amount not yet known, and the costs of this action pursuant to 15 U.S.C. § 1117(a).
 19                 84.   Pursuant to 15 U.S.C. § 1118, Therabody is entitled to, and hereby seeks,
 20 an order for the destruction of all materials bearing the Infringing Trade Dress, or any
 21 other trade dress confusingly similar to the Trade Dress.
 22                 85.   As this is an exceptional case, given Defendants' willful acts, pursuant
 23 to 15 U.S.C. § 1117(a), Therabody is further entitled to three times the amount of the
 24 above profits or damages, whichever is greater, and their attorneys' fees.
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   1                                   THIRD CAUSE OF ACTION
   2                             Common Law Trade Dress Infringement
   3                                       (Against All Defendants)
   4                86.   Therabody realleges and incorporates by reference all foregoing
   5 paragraphs as if fully set forth herein.
   6                87.   Defendants' acts constitute common law trade dress and trademark
   7 infringement and unfair competition under state law.
   8                88.   Therabody has been damaged and will continue to be damaged by
   9 Defendants' infringing activities.
 10                 89.   Therabody has no adequate remedy at law and is entitled to an injunction
 11 prohibiting Defendants from continuing the infringing practices described herein, and
 12 a recall order directed to the infringing items in the marketplace.
 13                 90.   Therabody is also entitled to profits and damages arising from
 14 Defendants' wrongful use of Plaintiff's Trade Dress.
 15                 91.   Therabody is informed and believes, on that basis alleges, that
 16 Defendants' conduct was willful, wanton, malicious, and in conscious disregard of
 17 Therabody's rights, thereby justifying an award of punitive and/or exemplary damages
 18 in an amount according to proof at trial.
 19                                   FOURTH CAUSE OF ACTION
 20                   Patent Infringement of the '448 Patent, 35 U.S.C. §§ 101 et seq.
 21                                        (Against All Defendants)
 22                 92.   Therabody realleges and incorporates by reference all foregoing
 23 paragraphs as if fully set forth herein.
 24                 93.   At all times herein mentioned the '448 Patent was and is valid and fully
 25 enforceable.
 26                 94.   Defendants are offering percussive massage devices that infringe at least
 27 claim 6 of the '448 Patent, including at least the Infringing Product.
 28                 95.   Defendants' Infringing Product is a percussive massage device.

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   1 As shown below, Defendants' Infringing Product includes a housing, wherein the
   2 housing includes first, second and third handle portions that cooperate to define a
   3 handle opening.
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 12                 96.   As shown above, Defendants' Infringing Product includes a first handle
 13 portion that defines a first axis, a second handle portion defines a second axis and a
 14 third handle portion defines a third axis, and wherein the first, second and third axes
 15 cooperate to form a triangle.
 16                 97.   As shown above, the Infringing Product includes that the first handle
 17 portion is generally straight, the second handle portion is generally straight, and that
 18 the third handle portion is generally straight, such that a user can grasp any of the first,
 19 second or third handle portions independently to use the percussive massage device.
 20                 98.   The Infringing Product includes an electrical source, a motor positioned
 21 in the housing, a switch for activating the motor, and a push rod assembly operatively
 22 connected to the motor and configured to reciprocate in response to activation of the
 23 motor.
 24                 99.   On information and belief, at least since Plaintiff's December 15, 2021
 25 email, Defendants have knowingly and actively induced the infringement of one or
 26 more of the '448 Patent claims by, inter alia, marketing, promoting, and offering for
 27 use the Infringing Product, knowingly and intending that the use of the Infringing
 28 Product by Defendants' customers and by users infringes the '448 Patent. For example,

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   1 Defendants intend to induce such infringement by, among other things, promoting
   2 users to purchase and use the Infringing Product knowing that its purchase and use
   3 infringes one or more claims of the '448 Patent.
   4                100. On information and belief, at least since Plaintiff's December 15, 2021
   5 email, Defendants have contributed to the infringement of the '448 Patent by their
   6 customers and users of the Infringing Product by, inter alia, making, offering to sell,
   7 selling and/or importing into the United States, a component of a patented machine,
   8 manufacture or combination, or an apparatus for use in practicing a patented process,
   9 constituting a material part of the invention, knowing the same to be especially made
 10 or especially adapted for use in infringing the '448 Patent. The Infringing Product is
 11 not a staple article or commodity of commerce suitable for substantial non-infringing
 12 use and is known by Defendants to be especially made or especially adapted to the
 13 infringe the '448 Patent. As a result, Defendants' Infringing Product has been used by
 14 its customers and by users to infringe the '448 Patent. Defendants continue to engage
 15 in acts of contributory infringement of the '448 Patent even after receiving notice of
 16 its contributory infringement.
 17                 101. Defendants infringe literally or under the doctrine of equivalents, or
 18 both.
 19                 102. At no time has Therabody granted Defendants authorization, license, or
 20 permission to utilize the inventions claimed in the '448 Patent.
 21                 103. Therabody has been damaged by Defendants' acts of infringement of the
 22 '448 Patent and Therabody will continue to be damaged by such infringement unless
 23 enjoined by this Court. Therabody is entitled to recover damages adequate to
 24 compensate for the infringement under 35 U.S.C. § 284.
 25                 104. Therabody is, and has been, irreparably harmed by Defendants' on-going
 26 infringement including the following harm which cannot be quantified or recouped
 27 through monetary damages: (1) lost market share that will be difficult, if not
 28 impossible, to recoup later as the Infringing Product becomes entrenched with retail

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   1 sellers and trainers who recommend them to their clients, (2) loss of first mover
   2 advantage that Therabody enjoyed as the first company to offer its innovative
   3 percussive devices and patented attachments, (3) loss of Therabody's investment in
   4 developing the market for percussive devices and its patented attachments,
   5 (4) negative effect on its reputation as innovator and pioneer, (5) the unquantifiable
   6 effect on lost sales of related products, (6) price erosion due to Defendants' Infringing
   7 Product being sold at a price point lower than Therabody's patented products,
   8 (7) diversion of resources to defend against loss of market share caused by sales of
   9 the Infringing Product, and (8) Defendants' unauthorized sales that are enticing others
 10 to offer for sale and sell infringing attachments that leads to additional irreparable
 11 harm described above.
 12                105. Defendants received notice of their infringement in Therabody's
 13 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 14 portfolio relating to percussive massage devices and attachments, directed them to
 15 Therabody's websites where Therabody identifies patents covering its percussive
 16 massage products, and identified Defendants' infringing products. Thus, Defendants
 17 knew of Therabody's patents, or should have known, and despite such knowledge
 18 Defendants continued selling the Infringing Products and thereby intentionally and
 19 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
 20 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
 21                                   FIFTH CAUSE OF ACTION
 22                  Patent Infringement of the '565 Patent, 35 U.S.C. §§ 101 et seq.
 23                                      (Against All Defendants)
 24                106. Therabody realleges and incorporates by reference all foregoing
 25 paragraphs as if fully set forth herein.
 26                107. At all times herein mentioned the '565 Patent was and is valid and fully
 27 enforceable.
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   1                108. Defendants are offering percussive massage devices that infringe at least
   2 claim 1 of the '565 Patent, including at least the Infringing Product.
   3                109. The Infringing Product is a percussive massage device.
   4                110. As shown below, the Infringing Product includes a housing wherein the
   5 housing includes first, second and third handle portions that cooperate to at least
   6 partially define a handle opening, wherein the first handle portion defines a first axis,
   7 the second handle portion defines a second axis and the third handle portion defines
   8 a third axis, wherein the first, second and third axes are co-planar, and wherein the
   9 first handle portion is generally straight, wherein the second handle portion is
 10 generally straight, and wherein the third handle portion is generally straight, and
 11 wherein the third handle portion is generally straight, such that a user can grasp any
 12 of the first, second or third handle portions independently to use the percussive
 13 massage device.
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 24                 111. The Infringing Product includes an electrical source, a motor positioned
 25 in the housing, a switch for activating the motor, and a push rod assembly operatively
 26 connected to the motor and configured to reciprocate in response to activation of the
 27 motor.
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   1                112. Defendants' infringe literally or under the doctrine of equivalents, or
   2 both.
   3                113. On information and belief, at least since Plaintiff's December 15, 2021
   4 email, Defendants have knowingly and actively induced the infringement of one or
   5 more of the '565 Patent claims by, inter alia, marketing, promoting, and offering for
   6 use the Infringing Product, knowingly and intending that the use of the Infringing
   7 Product by Defendants' customers and by users infringes the '565 Patent. For example,
   8 Defendants intend to induce such infringement by, among other things, promoting
   9 users to purchase and use the Infringing Product knowing that its purchase and use
 10 infringes one or more claims of the '565 Patent.
 11                 114. On information and belief, at least since Plaintiff's December 15, 2021
 12 email, Defendants have contributed to the infringement of the '565 Patent by their
 13 customers and users of the Infringing Product by, inter alia, making, offering to sell,
 14 selling and/or importing into the United States, a component of a patented machine,
 15 manufacture or combination, or an apparatus for use in practicing a patented process,
 16 constituting a material part of the invention, knowing the same to be especially made
 17 or especially adapted for use in infringing the '565 Patent. The Infringing Product is
 18 not a staple article or commodity of commerce suitable for substantial non-infringing
 19 use and is known by Defendants to be especially made or especially adapted to the
 20 infringe the '565 Patent. As a result, Defendants' Infringing Product has been used by
 21 its customers and by users to infringe the '565 Patent. Defendants continue to engage
 22 in acts of contributory infringement of the '565 Patent even after receiving notice of
 23 its contributory infringement.
 24                 115. At no time has Therabody granted Defendants authorization, license, or
 25 permission to utilize the design claimed in the '565 Patent.
 26                 116. Therabody has been damaged by Defendants' acts of infringement of the
 27 '565 Patent and Therabody will continue to be damaged by such infringement unless
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   1 enjoined by this Court. Therabody is entitled to recover damages adequate to
   2 compensate for the infringement under 35 U.S.C. § 284.
   3                117. Therabody is, and has been, irreparably harmed by Defendants' on-going
   4 infringement including the following harm which cannot be quantified or recouped
   5 through monetary damages: (1) lost market share that will be difficult, if not
   6 impossible, to recoup later as the Infringing Product becomes entrenched with retail
   7 sellers and trainers who recommend them to their clients, (2) loss of first mover
   8 advantage that Therabody enjoyed as the first company to offer its innovative and
   9 patented percussive devices, (3) loss of Therabody's investment in developing the
 10 market for percussive devices, (4) negative effect on its reputation as innovator and
 11 pioneer, (5) the unquantifiable effect on lost sales of related products, (6) price erosion
 12 due to Defendants' Infringing Product being sold at a price point lower than
 13 Therabody's patented products, (7) diversion of resources to defend against loss of
 14 market share caused by sales of the Infringing Product, and (8) Defendants'
 15 unauthorized sales that are enticing others to offer for sale and sell infringing
 16 attachments that leads to additional irreparable harm described above.
 17                 118. Defendants received notice of their infringement in Therabody's
 18 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 19 portfolio relating to percussive massage devices and attachments, directed them to
 20 Therabody's websites where Therabody identifies patents covering its percussive
 21 massage products, and identified Defendants' infringing products. Thus, Defendants
 22 knew of Therabody's patents, or should have known, and despite such knowledge
 23 Defendants continued selling the Infringing Products and thereby intentionally and
 24 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
 25 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
 26                                    SIXTH CAUSE OF ACTION
 27                   Patent Infringement of the '064 Patent, 35 U.S.C. §§ 101 et seq.
 28                                       (Against All Defendants)

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   1                119. Therabody realleges and incorporates by reference all foregoing
   2 paragraphs as if fully set forth herein.
   3                120. At all times herein mentioned the '064 Patent was and is valid and fully
   4 enforceable.
   5                121. Defendants are offering percussive massage devices that infringe at least
   6 claim 2 of the '064 Patent, including at least the Infringing Product.
   7                122. The Infringing Product is a percussive massage device.
   8                123. As shown below, the Infringing Product includes a housing, wherein the
   9 housing includes first, second and third handle portions and a head portion that
 10 cooperate to define a handle opening, wherein the first handle portion defines a first
 11 axis, the second handle portion defines a second axis and the third handle portion
 12 defines a third axis.
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 23                 124. As shown above, the Infringing Product includes the first, second and
 24 third axes cooperate to form a triangle, such that a user can grasp any of the first,
 25 second or third handle portions independently to use the percussive therapy device.
 26                 125. The Infringing Product includes an electrical source, a motor positioned
 27 in the head portion of the housing, a switch for activating the motor, and a push rod
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   1 assembly operatively connected to the motor and configured to reciprocate in
   2 response to activation of the motor.
   3                126. As shown above, at least a portion of the push rod assembly extends
   4 outside of the head portion.
   5                127. Defendants' infringe literally or under the doctrine of equivalents, or
   6 both.
   7                128. On information and belief, at least since Plaintiff's December 15, 2021
   8 email, Defendants have knowingly and actively induced the infringement of one or
   9 more of the '064 Patent claims by, inter alia, marketing, promoting, and offering for
 10 use the Infringing Product, knowingly and intending that the use of the Infringing
 11 Product by Defendants' customers and by users infringes the '064 Patent. For example,
 12 Defendants intend to induce such infringement by, among other things, promoting
 13 users to purchase and use the Infringing Product knowing that its purchase and use
 14 infringes one or more claims of the '064 Patent.
 15                 129. On information and belief, at least since Plaintiff's December 15, 2021
 16 email, Defendants have contributed to the infringement of the '064 Patent by their
 17 customers and users of the Infringing Product by, inter alia, making, offering to sell,
 18 selling and/or importing into the United States, a component of a patented machine,
 19 manufacture or combination, or an apparatus for use in practicing a patented process,
 20 constituting a material part of the invention, knowing the same to be especially made
 21 or especially adapted for use in infringing the '064 Patent. The Infringing Product is
 22 not a staple article or commodity of commerce suitable for substantial non-infringing
 23 use and is known by Defendants to be especially made or especially adapted to the
 24 infringe the '064 Patent. As a result, Defendants' Infringing Product has been used by
 25 its customers and by users to infringe the '064 Patent. Defendants continue to engage
 26 in acts of contributory infringement of the '064 Patent even after receiving notice of
 27 its contributory infringement.
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   1                130. At no time has Therabody granted Defendants authorization, license, or
   2 permission to utilize the design claimed in the '064 Patent.
   3                131. Therabody has been damaged by Defendants' acts of infringement of the
   4 '064 Patent and Therabody will continue to be damaged by such infringement unless
   5 enjoined by this Court. Therabody is entitled to recover damages adequate to
   6 compensate for the infringement under 35 U.S.C. § 284.
   7                132. Therabody is, and has been, irreparably harmed by Defendants' on-going
   8 infringement including the following harm which cannot be quantified or recouped
   9 through monetary damages: (1) lost market share that will be difficult, if not
 10 impossible, to recoup later as the Infringing Product becomes entrenched with retail
 11 sellers and trainers who recommend them to their clients, (2) loss of first mover
 12 advantage that Therabody enjoyed as the first company to offer its innovative and
 13 patented percussive devices, (3) loss of Therabody's investment in developing the
 14 market for percussive devices, (4) negative effect on its reputation as innovator and
 15 pioneer, (5) the unquantifiable effect on lost sales of related products, (6) price erosion
 16 due to Defendants' Infringing Product being sold at a price point lower than
 17 Therabody's patented products, (7) diversion of resources to defend against loss of
 18 market share caused by sales of the Infringing Product, and (8) Defendants'
 19 unauthorized sales that are enticing others to offer for sale and sell infringing
 20 attachments that leads to additional irreparable harm described above.
 21                 133. Defendants received notice of their infringement in Therabody's
 22 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 23 portfolio relating to percussive massage devices and attachments, directed them to
 24 Therabody's websites where Therabody identifies patents covering its percussive
 25 massage products, and identified Defendants' infringing products. Thus, Defendants
 26 knew of Therabody's patents, or should have known, and despite such knowledge
 27 Defendants continued selling the Infringing Products and thereby intentionally and
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   1 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
   2 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
   3                                  SEVENTH CAUSE OF ACTION
   4                  Patent Infringement of the '722 Patent, 35 U.S.C. §§ 101 et seq.
   5                                       (Against All Defendants)
   6                134. Therabody realleges and incorporates by reference all foregoing
   7 paragraphs as if fully set forth herein.
   8                135. At all times herein mentioned the '722 Patent was and is valid and fully
   9 enforceable.
 10                 136. Defendants are offering percussive massage devices that infringe at least
 11 claim 12 of the '722 Patent, including at least the Infringing Product.
 12                 137. The Infringing Product is a percussive massage device.
 13                 138. As shown below, the Infringing Product includes a housing, wherein the
 14 housing includes first, second and third handle portions that cooperate to at least
 15 partially define a handle opening, wherein the first handle portion includes a first
 16 handle portion exterior edge, wherein the second handle portion includes a second
 17 handle portion exterior edge, wherein the third handle portion includes a third handle
 18 portion exterior edge, wherein the first handle portion exterior edge defines a first
 19 handle portion exterior edge extended, wherein the second handle portion exterior
 20 edge defines a second handle portion exterior edge extended, wherein the third handle
 21 portion exterior edge defines a third handle portion exterior edge extended.
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   2                139. As shown above, the Infringing Product includes first, second and third
   3 exterior edges extended cooperate to define a triangle that surrounds the handle
   4 opening, such that a user can grasp any of the first, second or third handle portions
   5 independently to use the percussive massage device.
   6                140. The Infringing Product includes an electrical source, a motor positioned
   7 in the housing, a switch for activating the motor, and a push rod assembly operatively
   8 connected to the motor and configured to reciprocate in response to activation of the
   9 motor.
 10                 141. As shown above, the Infringing Product includes the first handle portion
 11 exterior edge is generally straight, wherein the second handle portion exterior edge is
 12 generally straight, and wherein the third handle portion exterior edge is generally
 13 straight.
 14                 142. Defendants' infringe literally or under the doctrine of equivalents, or
 15 both.
 16                 143. On information and belief, at least since Plaintiff's December 15, 2021
 17 email, Defendants have knowingly and actively induced the infringement of one or
 18 more of the '722 Patent claims by, inter alia, marketing, promoting, and offering for
 19 use the Infringing Product, knowingly and intending that the use of the Infringing
 20 Product by Defendants' customers and by users infringes the '722 Patent. For example,
 21 Defendants intend to induce such infringement by, among other things, promoting
 22 users to purchase and use the Infringing Product knowing that its purchase and use
 23 infringes one or more claims of the '722 Patent.
 24                 144. On information and belief, at least since Plaintiff's December 15, 2021
 25 email, Defendants have contributed to the infringement of the '722 Patent by their
 26 customers and users of the Infringing Product by, inter alia, making, offering to sell,
 27 selling and/or importing into the United States, a component of a patented machine,
 28 manufacture or combination, or an apparatus for use in practicing a patented process,

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   1 constituting a material part of the invention, knowing the same to be especially made
   2 or especially adapted for use in infringing the '722 Patent. The Infringing Product is
   3 not a staple article or commodity of commerce suitable for substantial non-infringing
   4 use and is known by Defendants to be especially made or especially adapted to the
   5 infringe the '722 Patent. As a result, Defendants' Infringing Product has been used by
   6 its customers and by users to infringe the '722 Patent. Defendants continue to engage
   7 in acts of contributory infringement of the '722 Patent even after receiving notice of
   8 its contributory infringement.
   9                145. At no time has Therabody granted Defendants authorization, license, or
 10 permission to utilize the design claimed in the '722 Patent.
 11                 146. Therabody has been damaged by Defendants' acts of infringement of the
 12 '722 Patent and Therabody will continue to be damaged by such infringement unless
 13 enjoined by this Court. Therabody is entitled to recover damages adequate to
 14 compensate for the infringement under 35 U.S.C. § 284.
 15                 147. Therabody is, and has been, irreparably harmed by Defendants' on-going
 16 infringement including the following harm which cannot be quantified or recouped
 17 through monetary damages: (1) lost market share that will be difficult, if not
 18 impossible, to recoup later as the Infringing Product becomes entrenched with retail
 19 sellers and trainers who recommend them to their clients, (2) loss of first mover
 20 advantage that Therabody enjoyed as the first company to offer its innovative and
 21 patented percussive devices, (3) loss of Therabody's investment in developing the
 22 market for percussive devices, (4) negative effect on its reputation as innovator and
 23 pioneer, (5) the unquantifiable effect on lost sales of related products, (6) price erosion
 24 due to Defendants' Infringing Product being sold at a price point lower than
 25 Therabody's patented products, (7) diversion of resources to defend against loss of
 26 market share caused by sales of the Infringing Product, and (8) Defendants'
 27 unauthorized sales that are enticing others to offer for sale and sell infringing
 28 attachments that leads to additional irreparable harm described above.

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   1                148. Defendants received notice of their infringement in Therabody's
   2 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
   3 portfolio relating to percussive massage devices and attachments, directed them to
   4 Therabody's websites where Therabody identifies patents covering its percussive
   5 massage products, and identified Defendants' infringing products. Thus, Defendants
   6 knew of Therabody's patents, or should have known, and despite such knowledge
   7 Defendants continued selling the Infringing Products and thereby intentionally and
   8 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
   9 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
 10                                   EIGHTH CAUSE OF ACTION
 11                  Patent Infringement of the 'D914 Patent, 35 U.S.C. §§ 101 et seq.
 12                                        (Against All Defendants)
 13                 149. Therabody realleges and incorporates by reference all foregoing
 14 paragraphs as if fully set forth herein.
 15                 150. At all times herein mentioned the 'D914 Patent was and is valid and fully
 16 enforceable.
 17                 151. Defendants are offering percussive massage devices that infringe the
 18 'D914 Patent, including at least the Infringing Product, as shown above. As shown
 19 below, a side by side comparison of FIG. 2 of Therabody's 'D914 Patent and
 20 Defendants' Infringing Product quickly reveals that the Infringing Product appears
 21 substantially the same as Therabody's 'D914 Patent to an ordinary observer; the
 22 resemblance is such as to deceive such an observer, inducing him or her to purchase
 23 one supposing it to be the other. Among other things, an ordinary observer would
 24 conclude that the Infringing Product has a number of the same, or very similar,
 25 features as the design patented in the 'D914 Patent that contribute to an overall
 26 appearance that is substantially the same, including that both the patented design and
 27 Infringing Product are (a) a rounded head portion, (b) cylindrical nozzle extending
 28

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   1 from the rounded head portion; and (c) have the same relative dimensions of the head
   2 portion to the nozzle:
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   9                152. Defendants have and continue to directly infringe the 'D914 Patent by
 10 making, using, offering for sale, selling and importing the Infringing Product in
 11 conjunction with percussive massage devices competitive to Therabody.
 12                 153. Defendants' infringement is based upon literal infringement or
 13 infringement under the doctrine of equivalents, or both.
 14                 154. On information and belief, at least since the filing of this complaint,
 15 Defendants have knowingly and actively induced the infringement of one or more of
 16 the 'D914 Patent claims by, inter alia, marketing, promoting, and offering for use the
 17 Infringing Product, knowingly and intending that the use of the Infringing Product by
 18 Defendants' customers and by users infringes the 'D914 Patent. For example,
 19 Defendants intend to induce such infringement by, among other things, promoting
 20 users to purchase and use the Infringing Product knowing that its purchase and use
 21 infringes one or more claims of the 'D914 Patent.
 22                 155. On information and belief, at least since Plaintiff's August 11, 2021
 23 letter, Defendants have contributed to the infringement of the 'D914 Patent by, inter
 24 alia, marketing and promoting the Infringing Product to its customers and users. The
 25 Infringing Product is not a staple article or commodity of commerce suitable for
 26 substantial non-infringing use and is known by Defendants to be especially made or
 27 especially adapted to the infringe the 'D914 Patent. As a result, Defendants' Infringing
 28 Product has been used by their customers and by users to infringe the 'D914 Patent.

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   1 Defendants continue to engage in acts of contributory infringement of the 'D914
   2 Patent even after receiving notice of their contributory infringement.
   3                156. At no time has Therabody granted Defendants authorization, license, or
   4 permission to utilize the design claimed in the 'D914 Patent.
   5                157. Therabody has been damaged by Defendants' acts of infringement of the
   6 'D914 Patent and Therabody will continue to be damaged by such infringement unless
   7 enjoined by this Court. Therabody is entitled to recover damages adequate to
   8 compensate for the infringement under 35 U.S.C. § 284.
   9                158. Therabody is, and has been, irreparably harmed by Defendants' ongoing
 10 infringement including the following harm which cannot be quantified or recouped
 11 through monetary damages: (1) lost market share that will be difficult, if not
 12 impossible, to recoup later as the Infringing Product becomes entrenched with retail
 13 sellers and trainers who recommend them to their clients, (2) loss of first mover
 14 advantage that Therabody enjoyed as the first company to offer its innovative
 15 percussive devices and patented attachments, (3) loss of Therabody's investment in
 16 building up the market for percussive devices, (4) negative effect on its reputation as
 17 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
 18 (6) price erosion due to Defendants' Infringing Product being sold at a price point
 19 lower than Therabody's patented product, (7) diversion of resources to defend against
 20 loss of market share caused by sales of the Infringing Product, and (8) Defendants'
 21 unauthorized sales that are enticing others to offer for sale and sell infringing
 22 attachments that leads to additional irreparable harm described above.
 23                 159. Defendants received notice of their infringement in Therabody's
 24 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 25 portfolio relating to percussive massage devices and attachments, directed them to
 26 Therabody's websites where Therabody identifies patents covering its percussive
 27 massage products, and identified Defendants' infringing products. Thus, Defendants
 28 knew of Therabody's patents, or should have known, and despite such knowledge

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   1 Defendants continued selling the Infringing Products and thereby intentionally and
   2 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
   3 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
   4                                   NINTH CAUSE OF ACTION
   5                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   6                                             'D714 Patent
   7                                       (Against All Defendants)
   8                160. Therabody realleges and incorporates by reference all foregoing
   9 paragraphs as if fully set forth herein.
 10                 161. At all times herein mentioned the 'D714 Patent was and is valid and fully
 11 enforceable.
 12                 162. Defendants are offering percussive massage devices that infringe the
 13 'D714 Patent, including at least the Infringing Product, as shown above. As shown
 14 below, a side by side comparison of FIG. 2 of Therabody's 'D714 Patent and
 15 Defendants' Infringing Product quickly reveals that the Infringing Product appears
 16 substantially the same as Therabody's 'D714 Patent to an ordinary observer; the
 17 resemblance is such as to deceive such an observer, inducing him or her to purchase
 18 one supposing it to be the other. Among other things, an ordinary observer would
 19 conclude that the Infringing Product has a number of the same, or very similar,
 20 features as the design patented in the 'D714 Patent that contribute to an overall
 21 appearance that is substantially the same, including that both the patented design and
 22 Infringing Product are (a) triangular shaped, (b) have the same relative dimensions
 23 (e.g., relative lengths of handle portions to one another and the head portion), (c) have
 24 a rounded head portion, and (d) cylindrical nozzle extending from the rounded head
 25 portion:
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   7                163. Defendants have and continue to directly infringe the 'D714 Patent by
   8 making, using, offering for sale, selling and importing the Infringing Product in
   9 conjunction with percussive massage devices competitive to Therabody.
 10                 164. Defendants' infringement is based upon literal infringement or
 11 infringement under the doctrine of equivalents, or both.
 12                 165. On information and belief, at least since the filing of this complaint,
 13 Defendants have knowingly and actively induced the infringement of one or more of
 14 the 'D714 Patent claims by, inter alia, marketing, promoting, and offering for use the
 15 Infringing Product, knowingly and intending that the use of the FInfringing Productby
 16 Defendants' customers and by users infringes the 'D714 Patent. For example,
 17 Defendants intend to induce such infringement by, among other things, promoting
 18 users to purchase and use the Infringing Product knowing that its purchase and use
 19 infringes one or more claims of the 'D714 Patent.
 20                 166. On information and belief, at least since the filing of this complaint,
 21 Defendants have contributed to the infringement of the 'D714 Patent by, inter alia,
 22 marketing and promoting the Infringing Product to its customers and users. The
 23 Infringing Product is not a staple article or commodity of commerce suitable for
 24 substantial non-infringing use and is known by Defendants to be especially made or
 25 especially adapted to the infringe the 'D714 Patent. As a result, Defendants' Infringing
 26 Product has been used by their customers and by users to infringe the 'D714 Patent.
 27 Defendants continue to engage in acts of contributory infringement of the 'D714
 28 Patent even after receiving notice of their contributory infringement.

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   1                167. At no time has Therabody granted Defendants authorization, license, or
   2 permission to utilize the design claimed in the 'D714 Patent.
   3                168. Therabody has been damaged by Defendants' acts of infringement of the
   4 'D714 Patent and Therabody will continue to be damaged by such infringement unless
   5 enjoined by this Court. Therabody is entitled to recover damages adequate to
   6 compensate for the infringement under 35 U.S.C. § 284.
   7                169. Therabody is, and has been, irreparably harmed by Defendants' ongoing
   8 infringement including the following harm which cannot be quantified or recouped
   9 through monetary damages: (1) lost market share that will be difficult, if not
 10 impossible, to recoup later as the Infringing Product becomes entrenched with retail
 11 sellers and trainers who recommend them to their clients, (2) loss of first mover
 12 advantage that Therabody enjoyed as the first company to offer its innovative
 13 percussive devices and patented attachments, (3) loss of Therabody's investment in
 14 building up the market for percussive devices, (4) negative effect on its reputation as
 15 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
 16 (6) price erosion due to Defendants' Infringing Product being sold at a price point
 17 lower than Therabody's patented product, (7) diversion of resources to defend against
 18 loss of market share caused by sales of the Infringing Product, and () Defendants'
 19 unauthorized sales that are enticing others to offer for sale and sell infringing
 20 attachments that leads to additional irreparable harm described above.
 21                 170. Defendants received notice of their infringement in Therabody's
 22 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 23 portfolio relating to percussive massage devices and attachments, directed them to
 24 Therabody's websites where Therabody identifies patents covering its percussive
 25 massage products, and identified Defendants' infringing products. Thus, Defendants
 26 knew of Therabody's patents, or should have known, and despite such knowledge
 27 Defendants continued selling the Infringing Products and thereby intentionally and
 28

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   1 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
   2 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
   3                                   TENTH CAUSE OF ACTION
   4                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   5                                             'D715 Patent
   6                                       (Against All Defendants)
   7                171. Therabody realleges and incorporates by reference all foregoing
   8 paragraphs as if fully set forth herein.
   9                172. At all times herein mentioned the 'D715 Patent was and is valid and fully
 10 enforceable.
 11                 173. Defendants are offering percussive massage devices that infringe the
 12 'D715 Patent, including at least the Infringing Product, as shown above. As shown
 13 below, a side by side comparison of FIG. 2 of Therabody's 'D715 Patent and
 14 Defendants' Infringing Product quickly reveals that the Infringing Product appears
 15 substantially the same as Therabody's 'D715 Patent to an ordinary observer; the
 16 resemblance is such as to deceive such an observer, inducing him or her to purchase
 17 one supposing it to be the other. Among other things, an ordinary observer would
 18 conclude that the Infringing Product has a number of the same, or very similar,
 19 features as the design patented in the 'D715 Patent that contribute to an overall
 20 appearance that is substantially the same, including that both the patented design and
 21 Infringing Product are (a) triangular shaped, (b) have the same relative dimensions
 22 (e.g., relative lengths of handle portions to one another and the head portion), (c) have
 23 a rounded head portion, and (d) cylindrical nozzle extending from the rounded head
 24 portion:
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   6                174. Defendants have and continue to directly infringe the 'D715 Patent by
   7 making, using, offering for sale, selling and importing the Infringing Product in
   8 conjunction with percussive massage devices competitive to Therabody.
   9                175. Defendants' infringement is based upon literal infringement or
 10 infringement under the doctrine of equivalents, or both.
 11                 176. On information and belief, at least since the filing of the complaint,
 12 Defendants have knowingly and actively induced the infringement of one or more of
 13 the 'D715 Patent claims by, inter alia, marketing, promoting, and offering for use the
 14 Infringing Product, knowingly and intending that the use of the Infringing Product by
 15 Defendants' customers and by users infringes the 'D715 Patent. For example,
 16 Defendants intend to induce such infringement by, among other things, promoting
 17 users to purchase and use the Infringing Product knowing that its purchase and use
 18 infringes one or more claims of the 'D715 Patent.
 19                 177. On information and belief, at least since the filing of the complaint,
 20 Defendants have contributed to the infringement of the 'D715 Patent by, inter alia,
 21 marketing and promoting the Infringing Product to its customers and users. The
 22 Infringing Product is not a staple article or commodity of commerce suitable for
 23 substantial non-infringing use and is known by Defendants to be especially made or
 24 especially adapted to the infringe the 'D715 Patent. As a result, Defendants' Infringing
 25 Product has been used by their customers and by users to infringe the 'D715 Patent.
 26 Defendants continue to engage in acts of contributory infringement of the 'D715
 27 Patent even after receiving notice of their contributory infringement.
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   1                178. At no time has Therabody granted Defendants authorization, license, or
   2 permission to utilize the design claimed in the 'D715 Patent.
   3                179. Therabody has been damaged by Defendants' acts of infringement of the
   4 'D715 Patent and Therabody will continue to be damaged by such infringement unless
   5 enjoined by this Court. Therabody is entitled to recover damages adequate to
   6 compensate for the infringement under 35 U.S.C. § 284.
   7                180. Therabody is, and has been, irreparably harmed by Defendants' ongoing
   8 infringement including the following harm which cannot be quantified or recouped
   9 through monetary damages: (1) lost market share that will be difficult, if not
 10 impossible, to recoup later as the Infringing Product becomes entrenched with retail
 11 sellers and trainers who recommend them to their clients, (2) loss of first mover
 12 advantage that Therabody enjoyed as the first company to offer its innovative
 13 percussive devices and patented attachments, (3) loss of Therabody's investment in
 14 building up the market for percussive devices, (4) negative effect on its reputation as
 15 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
 16 (6) price erosion due to Defendants' Infringing Product being sold at a price point
 17 lower than Therabody's patented product, (7) diversion of resources to defend against
 18 loss of market share caused by sales of the Infringing Product, and (8) Defendants'
 19 unauthorized sales that are enticing others to offer for sale and sell infringing
 20 attachments that leads to additional irreparable harm described above.
 21                 181. Defendants received notice of their infringement in Therabody's
 22 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 23 portfolio relating to percussive massage devices and attachments, directed them to
 24 Therabody's websites where Therabody identifies patents covering its percussive
 25 massage products, and identified Defendants' infringing products. Thus, Defendants
 26 knew of Therabody's patents, or should have known, and despite such knowledge
 27 Defendants continued selling the Infringing Products and thereby intentionally and
 28

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   1 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
   2 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
   3                                 ELEVENTH CAUSE OF ACTION
   4                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   5                                             'D716 Patent
   6                                       (Against All Defendants)
   7                182. Therabody realleges and incorporates by reference all foregoing
   8 paragraphs as if fully set forth herein.
   9                183. At all times herein mentioned the 'D716 Patent was and is valid and fully
 10 enforceable.
 11                 184. Defendants are offering percussive massage devices that infringe the
 12 'D716 Patent, including at least the Infringing Product, as shown above. As shown
 13 below, a side by side comparison of FIG. 2 of Therabody's 'D716 Patent and
 14 Defendants' Infringing Product quickly reveals that the Infringing Product appears
 15 substantially the same as Therabody's 'D716 Patent to an ordinary observer; the
 16 resemblance is such as to deceive such an observer, inducing him or her to purchase
 17 one supposing it to be the other. Among other things, an ordinary observer would
 18 conclude that the Infringing Product has a number of the same, or very similar,
 19 features as the design patented in the 'D716 Patent that contribute to an overall
 20 appearance that is substantially the same, including that both the patented design and
 21 Infringing Product are (a) triangular shaped, (b) have the same relative dimensions
 22 (e.g., relative lengths of handle portions to one another and the head portion), and (c)
 23 have a rounded head portion:
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   1                185. Defendants have and continue to directly infringe the 'D716 Patent by
   2 making, using, offering for sale, selling and importing the Infringing Product in
   3 conjunction with percussive massage devices competitive to Therabody.
   4                186. Defendants' infringement is based upon literal infringement or
   5 infringement under the doctrine of equivalents, or both.
   6                187. On information and belief, at least since the filing of the complaint,
   7 Defendants have knowingly and actively induced the infringement of one or more of
   8 the 'D716 Patent claims by, inter alia, marketing, promoting, and offering for use the
   9 Infringing Product, knowingly and intending that the use of the Infringing Product by
 10 Defendants' customers and by users infringes the 'D716 Patent. For example,
 11 Defendants intend to induce such infringement by, among other things, promoting
 12 users to purchase and use the Infringing Product knowing that its purchase and use
 13 infringes one or more claims of the 'D716 Patent.
 14                 188. On information and belief, at least since the filing of the complaint,
 15 Defendants have contributed to the infringement of the 'D716 Patent by, inter alia,
 16 marketing and promoting the Infringing Product to its customers and users. The
 17 Infringing Product is not a staple article or commodity of commerce suitable for
 18 substantial non-infringing use and is known by Defendants to be especially made or
 19 especially adapted to the infringe the 'D716 Patent. As a result, Defendants' Infringing
 20 Product has been used by their customers and by users to infringe the 'D716 Patent.
 21 Defendants continue to engage in acts of contributory infringement of the 'D716
 22 Patent even after receiving notice of their contributory infringement.
 23                 189. At no time has Therabody granted Defendants authorization, license, or
 24 permission to utilize the design claimed in the 'D716 Patent.
 25                 190. Therabody has been damaged by Defendants' acts of infringement of the
 26 'D716 Patent and Therabody will continue to be damaged by such infringement unless
 27 enjoined by this Court. Therabody is entitled to recover damages adequate to
 28 compensate for the infringement under 35 U.S.C. § 284.

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   1                191. Therabody is, and has been, irreparably harmed by Defendants' ongoing
   2 infringement including the following harm which cannot be quantified or recouped
   3 through monetary damages: (1) lost market share that will be difficult, if not
   4 impossible, to recoup later as the Infringing Product becomes entrenched with retail
   5 sellers and trainers who recommend them to their clients, (2) loss of first mover
   6 advantage that Therabody enjoyed as the first company to offer its innovative
   7 percussive devices and patented attachments, (3) loss of Therabody's investment in
   8 building up the market for percussive devices, (4) negative effect on its reputation as
   9 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
 10 (6) price erosion due to Defendants' Infringing Product being sold at a price point
 11 lower than Therabody's patented product, (7) diversion of resources to defend against
 12 loss of market share caused by sales of the Infringing Product, and (8) Defendants'
 13 unauthorized sales that are enticing others to offer for sale and sell infringing
 14 attachments that leads to additional irreparable harm described above.
 15                 192. Defendants received notice of their infringement in Therabody's
 16 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 17 portfolio relating to percussive massage devices and attachments, directed them to
 18 Therabody's websites where Therabody identifies patents covering its percussive
 19 massage products, and identified Defendants' infringing products. Thus, Defendants
 20 knew of Therabody's patents, or should have known, and despite such knowledge
 21 Defendants continued selling the Infringing Products and thereby intentionally and
 22 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
 23 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
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   1                                TWELVETH CAUSE OF ACTION
   2                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   3                                             'D985 Patent
   4                                       (Against All Defendants)
   5                193. Therabody realleges and incorporates by reference all foregoing
   6 paragraphs as if fully set forth herein.
   7                194. At all times herein mentioned the 'D985 Patent was and is valid and fully
   8 enforceable.
   9                195. Defendants are offering percussive massage devices that infringe the
 10 'D985 Patent, including at least the Infringing Product, as shown above. As shown
 11 below, a side by side comparison of FIG. 2 of Therabody's 'D985 Patent and
 12 Defendants' Infringing Product quickly reveals that the Infringing Product appears
 13 substantially the same as Therabody's 'D985 Patent to an ordinary observer; the
 14 resemblance is such as to deceive such an observer, inducing him or her to purchase
 15 one supposing it to be the other. Among other things, an ordinary observer would
 16 conclude that the Infringing Product has a number of the same, or very similar,
 17 features as the design patented in the 'D985 Patent that contribute to an overall
 18 appearance that is substantially the same, including that both the patented design and
 19 Infringing Product are (a) triangular shaped, (b) have the same relative dimensions
 20 (e.g., relative lengths of handle portions to one another and the head portion), (c) have
 21 a rounded head portion, and (d) cylindrical nozzle extending from the rounded head
 22 portion:
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   1                196. Defendants have and continue to directly infringe the 'D985 Patent by
   2 making, using, offering for sale, selling and importing the Infringing Product in
   3 conjunction with percussive massage devices competitive to Therabody.
   4                197. Defendants' infringement is based upon literal infringement or
   5 infringement under the doctrine of equivalents, or both.
   6                198. On information and belief, at least since the filing of the complaint,
   7 Defendants have knowingly and actively induced the infringement of one or more of
   8 the 'D985 Patent claims by, inter alia, marketing, promoting, and offering for use the
   9 Infringing Product, knowingly and intending that the use of the Infringing Product by
 10 Defendants' customers and by users infringes the 'D985 Patent. For example,
 11 Defendants intend to induce such infringement by, among other things, promoting
 12 users to purchase and use the Infringing Product knowing that its purchase and use
 13 infringes one or more claims of the 'D985 Patent.
 14                 199. On information and belief, at least since the filing of the complaint,
 15 Defendants have contributed to the infringement of the 'D985 Patent by, inter alia,
 16 marketing and promoting the Infringing Product to its customers and users. The
 17 Infringing Product is not a staple article or commodity of commerce suitable for
 18 substantial non-infringing use and is known by Defendants to be especially made or
 19 especially adapted to the infringe the 'D985 Patent. As a result, Defendants' Infringing
 20 Product has been used by their customers and by users to infringe the 'D985 Patent.
 21 Defendants continue to engage in acts of contributory infringement of the 'D985
 22 Patent even after receiving notice of their contributory infringement.
 23                 200. At no time has Therabody granted Defendants authorization, license, or
 24 permission to utilize the design claimed in the 'D985 Patent.
 25                 201. Therabody has been damaged by Defendants' acts of infringement of the
 26 'D985 Patent and Therabody will continue to be damaged by such infringement unless
 27 enjoined by this Court. Therabody is entitled to recover damages adequate to
 28 compensate for the infringement under 35 U.S.C. § 284.

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   1                202. Therabody is, and has been, irreparably harmed by Defendants' ongoing
   2 infringement including the following harm which cannot be quantified or recouped
   3 through monetary damages: (1) lost market share that will be difficult, if not
   4 impossible, to recoup later as the Infringing Product becomes entrenched with retail
   5 sellers and trainers who recommend them to their clients, (2) loss of first mover
   6 advantage that Therabody enjoyed as the first company to offer its innovative
   7 percussive devices and patented attachments, (3) loss of Therabody's investment in
   8 building up the market for percussive devices, (4) negative effect on its reputation as
   9 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
 10 (6) price erosion due to Defendants' Infringing Product being sold at a price point
 11 lower than Therabody's patented product, (7) diversion of resources to defend against
 12 loss of market share caused by sales of the Infringing Product, and (8) Defendants'
 13 unauthorized sales that are enticing others to offer for sale and sell infringing
 14 attachments that leads to additional irreparable harm described above.
 15                 203. Defendants received notice of their infringement in Therabody's
 16 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 17 portfolio relating to percussive massage devices and attachments, directed them to
 18 Therabody's websites where Therabody identifies patents covering its percussive
 19 massage products, and identified Defendants' infringing products. Thus, Defendants
 20 knew of Therabody's patents, or should have known, and despite such knowledge
 21 Defendants continued selling the Infringing Products and thereby intentionally and
 22 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
 23 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
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   1                               THIRTEENTH CAUSE OF ACTION
   2                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   3                                             'D986 Patent
   4                                       (Against All Defendants)
   5                204. Therabody realleges and incorporates by reference all foregoing
   6 paragraphs as if fully set forth herein.
   7                205. At all times herein mentioned the 'D986 Patent was and is valid and fully
   8 enforceable.
   9                206. Defendants are offering percussive massage devices that infringe the
 10 'D986 Patent, including at least the Infringing Product, as shown above. As shown
 11 below, a side by side comparison of FIG. 2 of Therabody's 'D986 Patent and
 12 Defendants' Infringing Product quickly reveals that the Infringing Product appears
 13 substantially the same as Therabody's 'D986 Patent to an ordinary observer; the
 14 resemblance is such as to deceive such an observer, inducing him or her to purchase
 15 one supposing it to be the other. Among other things, an ordinary observer would
 16 conclude that the Infringing Product has a number of the same, or very similar,
 17 features as the design patented in the 'D986 Patent that contribute to an overall
 18 appearance that is substantially the same, including that both the patented design and
 19 Infringing Product are (a) triangular shaped, (b) have the same relative dimensions
 20 (e.g., relative lengths of handle portions to one another and the head portion), (c) have
 21 a rounded head portion, and (d) cylindrical nozzle extending from the rounded head
 22 portion:
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   1                207. Defendants have and continue to directly infringe the 'D986 Patent by
   2 making, using, offering for sale, selling and importing the Infringing Product in
   3 conjunction with percussive massage devices competitive to Therabody.
   4                208. Defendants' infringement is based upon literal infringement or
   5 infringement under the doctrine of equivalents, or both.
   6                209. On information and belief, at least since the filing of this complaint,
   7 Defendants have knowingly and actively induced the infringement of one or more of
   8 the 'D986 Patent claims by, inter alia, marketing, promoting, and offering for use the
   9 Infringing Product, knowingly and intending that the use of the Infringing Product by
 10 Defendants' customers and by users infringes the 'D986 Patent. For example,
 11 Defendants intend to induce such infringement by, among other things, promoting
 12 users to purchase and use the Infringing Product knowing that its purchase and use
 13 infringes one or more claims of the 'D986 Patent.
 14                 210. On information and belief, at least since the filing of this complaint,
 15 Defendants have contributed to the infringement of the 'D986 Patent by, inter alia,
 16 marketing and promoting the Infringing Product to its customers and users. The
 17 Infringing Product is not a staple article or commodity of commerce suitable for
 18 substantial non-infringing use and is known by Defendants to be especially made or
 19 especially adapted to the infringe the 'D986 Patent. As a result, Defendants' Infringing
 20 Product has been used by their customers and by users to infringe the 'D986 Patent.
 21 Defendants continue to engage in acts of contributory infringement of the 'D986
 22 Patent even after receiving notice of their contributory infringement.
 23                 211. At no time has Therabody granted Defendants authorization, license, or
 24 permission to utilize the design claimed in the 'D986 Patent.
 25                 212. Therabody has been damaged by Defendants' acts of infringement of the
 26 'D986 Patent and Therabody will continue to be damaged by such infringement unless
 27 enjoined by this Court. Therabody is entitled to recover damages adequate to
 28 compensate for the infringement under 35 U.S.C. § 284.

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   1                213. Therabody is, and has been, irreparably harmed by Defendants' ongoing
   2 infringement including the following harm which cannot be quantified or recouped
   3 through monetary damages: (1) lost market share that will be difficult, if not
   4 impossible, to recoup later as the Infringing Product becomes entrenched with retail
   5 sellers and trainers who recommend them to their clients, (2) loss of first mover
   6 advantage that Therabody enjoyed as the first company to offer its innovative
   7 percussive devices and patented attachments, (3) loss of Therabody's investment in
   8 building up the market for percussive devices, (4) negative effect on its reputation as
   9 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
 10 (6) price erosion due to Defendants' Infringing Product being sold at a price point
 11 lower than Therabody's patented product, (7) diversion of resources to defend against
 12 loss of market share caused by sales of the Infringing Product, and (8) Defendants'
 13 unauthorized sales that are enticing others to offer for sale and sell infringing
 14 attachments that leads to additional irreparable harm described above.
 15                 214. Defendants received notice of their infringement in Therabody's
 16 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 17 portfolio relating to percussive massage devices and attachments, directed them to
 18 Therabody's websites where Therabody identifies patents covering its percussive
 19 massage products, and identified Defendants' infringing products. Thus, Defendants
 20 knew of Therabody's patents, or should have known, and despite such knowledge
 21 Defendants continued selling the Infringing Products and thereby intentionally and
 22 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
 23 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
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   1                               FOURTEENTH CAUSE OF ACTION
   2                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   3                                             'D601 Patent
   4                                       (Against All Defendants)
   5                215. Therabody realleges and incorporates by reference all foregoing
   6 paragraphs as if fully set forth herein.
   7                216. At all times herein mentioned the 'D601 Patent was and is valid and fully
   8 enforceable.
   9                217. Defendants are offering percussive massage devices that infringe the
 10 'D601 Patent, including at least the Infringing Product, as shown above. As shown
 11 below, a side by side comparison of FIG. 2 of Therabody's 'D601 Patent and
 12 Defendants' Infringing Product quickly reveals that the Infringing Product appears
 13 substantially the same as Therabody's 'D601 Patent to an ordinary observer; the
 14 resemblance is such as to deceive such an observer, inducing him or her to purchase
 15 one supposing it to be the other. Among other things, an ordinary observer would
 16 conclude that the Infringing Product has a number of the same, or very similar,
 17 features as the design patented in the 'D601 Patent that contribute to an overall
 18 appearance that is substantially the same, including that both the patented design and
 19 Infringing Product are (a) triangular shaped, (b) have the same relative dimensions
 20 (e.g., relative lengths of handle portions to one another and the head portion), (c) have
 21 a rounded head portion, and (d) cylindrical nozzle extending from the rounded head
 22 portion:
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   1                218. Defendants have and continue to directly infringe the 'D601 Patent by
   2 making, using, offering for sale, selling and importing the Infringing Product in
   3 conjunction with percussive massage devices competitive to Therabody.
   4                219. Defendants' infringement is based upon literal infringement or
   5 infringement under the doctrine of equivalents, or both.
   6                220. On information and belief, at least since the filing of the complaint,
   7 Defendants have knowingly and actively induced the infringement of one or more of
   8 the 'D601 Patent claims by, inter alia, marketing, promoting, and offering for use the
   9 Infringing Product, knowingly and intending that the use of the Infringing Product by
 10 Defendants' customers and by users infringes the 'D601 Patent. For example,
 11 Defendants intend to induce such infringement by, among other things, promoting
 12 users to purchase and use the Infringing Product knowing that its purchase and use
 13 infringes one or more claims of the 'D601 Patent.
 14                 221. On information and belief, at least since the filing of the complaint,
 15 Defendants have contributed to the infringement of the 'D601 Patent by, inter alia,
 16 marketing and promoting the Infringing Product to its customers and users. The
 17 Infringing Product is not a staple article or commodity of commerce suitable for
 18 substantial non-infringing use and is known by Defendants to be especially made or
 19 especially adapted to the infringe the 'D601 Patent. As a result, Defendants' Infringing
 20 Product has been used by their customers and by users to infringe the 'D601 Patent.
 21 Defendants continue to engage in acts of contributory infringement of the 'D601
 22 Patent even after receiving notice of their contributory infringement.
 23                 222. At no time has Therabody granted Defendants authorization, license, or
 24 permission to utilize the design claimed in the 'D601 Patent.
 25                 223. Therabody has been damaged by Defendants' acts of infringement of the
 26 'D601 Patent and Therabody will continue to be damaged by such infringement unless
 27 enjoined by this Court. Therabody is entitled to recover damages adequate to
 28 compensate for the infringement under 35 U.S.C. § 284.

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   1                224. Therabody is, and has been, irreparably harmed by Defendants' ongoing
   2 infringement including the following harm which cannot be quantified or recouped
   3 through monetary damages: (1) lost market share that will be difficult, if not
   4 impossible, to recoup later as the Infringing Product becomes entrenched with retail
   5 sellers and trainers who recommend them to their clients, (2) loss of first mover
   6 advantage that Therabody enjoyed as the first company to offer its innovative
   7 percussive devices and patented attachments, (3) loss of Therabody's investment in
   8 building up the market for percussive devices, (4) negative effect on its reputation as
   9 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
 10 (6) price erosion due to Defendants' Infringing Product being sold at a price point
 11 lower than Therabody's patented product, (7) diversion of resources to defend against
 12 loss of market share caused by sales of the Infringing Product, and (8) Defendants'
 13 unauthorized sales that are enticing others to offer for sale and sell infringing
 14 attachments that leads to additional irreparable harm described above.
 15                 225. Defendants received notice of their infringement in Therabody's
 16 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 17 portfolio relating to percussive massage devices and attachments, directed them to
 18 Therabody's websites where Therabody identifies patents covering its percussive
 19 massage products, and identified Defendants' infringing products. Thus, Defendants
 20 knew of Therabody's patents, or should have known, and despite such knowledge
 21 Defendants continued selling the Infringing Products and thereby intentionally and
 22 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
 23 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
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   1                                FIFTEENTH CAUSE OF ACTION
   2                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   3                                             'D573 Patent
   4                                       (Against All Defendants)
   5                226. Therabody realleges and incorporates by reference all foregoing
   6 paragraphs as if fully set forth herein.
   7                227. At all times herein mentioned the 'D573 Patent was and is valid and fully
   8 enforceable.
   9                228. Defendants are offering percussive massage devices that infringe the
 10 'D573 Patent, including at least the Infringing Product, as shown above. As shown
 11 below, a side by side comparison of FIG. 2 of Therabody's 'D573 Patent and
 12 Defendants' Infringing Product quickly reveals that the Infringing Product appears
 13 substantially the same as Therabody's 'D573 Patent to an ordinary observer; the
 14 resemblance is such as to deceive such an observer, inducing him or her to purchase
 15 one supposing it to be the other. Among other things, an ordinary observer would
 16 conclude that the Infringing Product has a number of the same, or very similar,
 17 features as the design patented in the 'D573 Patent that contribute to an overall
 18 appearance that is substantially the same, including that both the patented design and
 19 Infringing Product are (a) triangular shaped, (b) have the same relative dimensions
 20 (e.g., relative lengths of handle portions to one another and the head portion), (c) have
 21 a rounded head portion, and (d) cylindrical nozzle extending from the rounded head
 22 portion:
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   1                229. Defendants have and continue to directly infringe the 'D573 Patent by
   2 making, using, offering for sale, selling and importing the Infringing Product in
   3 conjunction with percussive massage devices competitive to Therabody.
   4                230. Defendants' infringement is based upon literal infringement or
   5 infringement under the doctrine of equivalents, or both.
   6                231. On information and belief, at least since the filing of the complaint,
   7 Defendants have knowingly and actively induced the infringement of one or more of
   8 the 'D573 Patent claims by, inter alia, marketing, promoting, and offering for use the
   9 Infringing Product, knowingly and intending that the use of the Infringing Product by
 10 Defendants' customers and by users infringes the 'D573 Patent. For example,
 11 Defendants intend to induce such infringement by, among other things, promoting
 12 users to purchase and use the Infringing Product knowing that its purchase and use
 13 infringes one or more claims of the 'D573 Patent.
 14                 232. On information and belief, at least since the filing of the complaint,
 15 Defendants have contributed to the infringement of the 'D573 Patent by, inter alia,
 16 marketing and promoting the Infringing Product to its customers and users. The
 17 Infringing Product is not a staple article or commodity of commerce suitable for
 18 substantial non-infringing use and is known by Defendants to be especially made or
 19 especially adapted to the infringe the 'D573 Patent. As a result, Defendants' Infringing
 20 Product has been used by their customers and by users to infringe the 'D573 Patent.
 21 Defendants continue to engage in acts of contributory infringement of the 'D573
 22 Patent even after receiving notice of their contributory infringement.
 23                 233. At no time has Therabody granted Defendants authorization, license, or
 24 permission to utilize the design claimed in the 'D573 Patent.
 25                 234. Therabody has been damaged by Defendants' acts of infringement of the
 26 'D573 Patent and Therabody will continue to be damaged by such infringement unless
 27 enjoined by this Court. Therabody is entitled to recover damages adequate to
 28 compensate for the infringement under 35 U.S.C. § 284.

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   1                235. Therabody is, and has been, irreparably harmed by Defendants' ongoing
   2 infringement including the following harm which cannot be quantified or recouped
   3 through monetary damages: (1) lost market share that will be difficult, if not
   4 impossible, to recoup later as the Infringing Product becomes entrenched with retail
   5 sellers and trainers who recommend them to their clients, (2) loss of first mover
   6 advantage that Therabody enjoyed as the first company to offer its innovative
   7 percussive devices and patented attachments, (3) loss of Therabody's investment in
   8 building up the market for percussive devices, (4) negative effect on its reputation as
   9 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
 10 (6) price erosion due to Defendants' Infringing Product being sold at a price point
 11 lower than Therabody's patented product, (7) diversion of resources to defend against
 12 loss of market share caused by sales of the Infringing Product, and (8) Defendants'
 13 unauthorized sales that are enticing others to offer for sale and sell infringing
 14 attachments that leads to additional irreparable harm described above.
 15                 236. Defendants received notice of their infringement in Therabody's
 16 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 17 portfolio relating to percussive massage devices and attachments, directed them to
 18 Therabody's websites where Therabody identifies patents covering its percussive
 19 massage products, and identified Defendants' infringing products. Thus, Defendants
 20 knew of Therabody's patents, or should have known, and despite such knowledge
 21 Defendants continued selling the Infringing Products and thereby intentionally and
 22 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
 23 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
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   1                                SIXTEENTH CAUSE OF ACTION
   2                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   3                                             'D396 Patent
   4                                       (Against All Defendants)
   5                237. Therabody realleges and incorporates by reference all foregoing
   6 paragraphs as if fully set forth herein.
   7                238. At all times herein mentioned the 'D396 Patent was and is valid and fully
   8 enforceable.
   9                239. Defendants are offering percussive massage devices that infringe the
 10 'D396 Patent, including at least the Infringing Product, as shown above. As shown
 11 below, a side by side comparison of FIG. 2 of Therabody's 'D396 Patent and
 12 Defendants' Infringing Product quickly reveals that the Infringing Product appears
 13 substantially the same as Therabody's 'D396 Patent to an ordinary observer; the
 14 resemblance is such as to deceive such an observer, inducing him or her to purchase
 15 one supposing it to be the other. Among other things, an ordinary observer would
 16 conclude that the Infringing Product has a number of the same, or very similar,
 17 features as the design patented in the 'D396 Patent that contribute to an overall
 18 appearance that is substantially the same, including that both the patented design and
 19 Infringing Product are (a) triangular shaped, (b) have the same relative dimensions
 20 (e.g., relative lengths of handle portions to one another and the head portion), (c) have
 21 a rounded head portion, and (d) cylindrical nozzle extending from the rounded head
 22 portion:
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   1                240. Defendants have and continue to directly infringe the 'D396 Patent by
   2 making, using, offering for sale, selling and importing the Infringing Product in
   3 conjunction with percussive massage devices competitive to Therabody.
   4                241. Defendants' infringement is based upon literal infringement or
   5 infringement under the doctrine of equivalents, or both.
   6                242. On information and belief, at least since the filing of the complaint,
   7 Defendants have knowingly and actively induced the infringement of one or more of
   8 the 'D396 Patent claims by, inter alia, marketing, promoting, and offering for use the
   9 Infringing Product, knowingly and intending that the use of the Infringing Product by
 10 Defendants' customers and by users infringes the 'D396 Patent. For example,
 11 Defendants intend to induce such infringement by, among other things, promoting
 12 users to purchase and use the Infringing Product knowing that its purchase and use
 13 infringes one or more claims of the 'D396 Patent.
 14                 243. On information and belief, at least since the filing of the complaint,
 15 Defendants have contributed to the infringement of the 'D396 Patent by, inter alia,
 16 marketing and promoting the Infringing Product to its customers and users. The
 17 Infringing Product is not a staple article or commodity of commerce suitable for
 18 substantial non-infringing use and is known by Defendants to be especially made or
 19 especially adapted to the infringe the 'D396 Patent. As a result, Defendants' Infringing
 20 Product has been used by their customers and by users to infringe the 'D396 Patent.
 21 Defendants continue to engage in acts of contributory infringement of the 'D396
 22 Patent even after receiving notice of their contributory infringement.
 23                 244. At no time has Therabody granted Defendants authorization, license, or
 24 permission to utilize the design claimed in the 'D396 Patent.
 25                 245. Therabody has been damaged by Defendants' acts of infringement of the
 26 'D396 Patent and Therabody will continue to be damaged by such infringement unless
 27 enjoined by this Court. Therabody is entitled to recover damages adequate to
 28 compensate for the infringement under 35 U.S.C. § 284.

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   1                246. Therabody is, and has been, irreparably harmed by Defendants' ongoing
   2 infringement including the following harm which cannot be quantified or recouped
   3 through monetary damages: (1) lost market share that will be difficult, if not
   4 impossible, to recoup later as the Infringing Product becomes entrenched with retail
   5 sellers and trainers who recommend them to their clients, (2) loss of first mover
   6 advantage that Therabody enjoyed as the first company to offer its innovative
   7 percussive devices and patented attachments, (3) loss of Therabody's investment in
   8 building up the market for percussive devices, (4) negative effect on its reputation as
   9 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
 10 (6) price erosion due to Defendants' Infringing Product being sold at a price point
 11 lower than Therabody's patented product, (7) diversion of resources to defend against
 12 loss of market share caused by sales of the Infringing Product, and (8) Defendants'
 13 unauthorized sales that are enticing others to offer for sale and sell infringing
 14 attachments that leads to additional irreparable harm described above.
 15                 247. Defendants received notice of their infringement in Therabody's
 16 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 17 portfolio relating to percussive massage devices and attachments, directed them to
 18 Therabody's websites where Therabody identifies patents covering its percussive
 19 massage products, and identified Defendants' infringing products. Thus, Defendants
 20 knew of Therabody's patents, or should have known, and despite such knowledge
 21 Defendants continued selling the Infringing Products and thereby intentionally and
 22 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
 23 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
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   1                              SEVENTEENTH CAUSE OF ACTION
   2                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   3                                             'D915 Patent
   4                                       (Against All Defendants)
   5                248. Therabody realleges and incorporates by reference all foregoing
   6 paragraphs as if fully set forth herein.
   7                249. At all times herein mentioned the 'D915 Patent was and is valid and fully
   8 enforceable.
   9                250. Defendants are offering percussive massage devices that infringe the
 10 'D915 Patent, including at least the Infringing Product, as shown above. As shown
 11 below, a side by side comparison of FIG. 2 of Therabody's 'D915 Patent and
 12 Defendants' Infringing Product quickly reveals that the Infringing Product appears
 13 substantially the same as Therabody's 'D915 Patent to an ordinary observer; the
 14 resemblance is such as to deceive such an observer, inducing him or her to purchase
 15 one supposing it to be the other. Among other things, an ordinary observer would
 16 conclude that the Infringing Product has a number of the same, or very similar,
 17 features as the design patented in the 'D915 Patent that contribute to an overall
 18 appearance that is substantially the same, including that both the patented design and
 19 Infringing Product are (a) triangular shaped, (b) have the same relative dimensions
 20 (e.g., relative lengths of handle portions to one another and the head portion), and (c)
 21 have a rounded head portion:
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   1                251. Defendants have and continue to directly infringe the 'D915 Patent by
   2 making, using, offering for sale, selling and importing the Infringing Product in
   3 conjunction with percussive massage devices competitive to Therabody.
   4                252. Defendants' infringement is based upon literal infringement or
   5 infringement under the doctrine of equivalents, or both.
   6                253. On information and belief, at least since the filing of the complaint,
   7 Defendants have knowingly and actively induced the infringement of one or more of
   8 the 'D915 Patent claims by, inter alia, marketing, promoting, and offering for use the
   9 Infringing Product, knowingly and intending that the use of the Infringing Product by
 10 Defendants' customers and by users infringes the 'D915 Patent. For example,
 11 Defendants intend to induce such infringement by, among other things, promoting
 12 users to purchase and use the Infringing Product knowing that its purchase and use
 13 infringes one or more claims of the 'D915 Patent.
 14                 254. On information and belief, at least since the filing of the complaint,
 15 Defendants have contributed to the infringement of the 'D915 Patent by, inter alia,
 16 marketing and promoting the Infringing Product to its customers and users. The
 17 Infringing Product is not a staple article or commodity of commerce suitable for
 18 substantial non-infringing use and is known by Defendants to be especially made or
 19 especially adapted to the infringe the 'D915 Patent. As a result, Defendants' Infringing
 20 Product has been used by their customers and by users to infringe the 'D915 Patent.
 21 Defendants continue to engage in acts of contributory infringement of the 'D915
 22 Patent even after receiving notice of their contributory infringement.
 23                 255. At no time has Therabody granted Defendants authorization, license, or
 24 permission to utilize the design claimed in the 'D915 Patent.
 25                 256. Therabody has been damaged by Defendants' acts of infringement of the
 26 'D915 Patent and Therabody will continue to be damaged by such infringement unless
 27 enjoined by this Court. Therabody is entitled to recover damages adequate to
 28 compensate for the infringement under 35 U.S.C. § 284.

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   1                257. Therabody is, and has been, irreparably harmed by Defendants' ongoing
   2 infringement including the following harm which cannot be quantified or recouped
   3 through monetary damages: (1) lost market share that will be difficult, if not
   4 impossible, to recoup later as the Infringing Product becomes entrenched with retail
   5 sellers and trainers who recommend them to their clients, (2) loss of first mover
   6 advantage that Therabody enjoyed as the first company to offer its innovative
   7 percussive devices and patented attachments, (3) loss of Therabody's investment in
   8 building up the market for percussive devices, (4) negative effect on its reputation as
   9 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
 10 (6) price erosion due to Defendants' Infringing Product being sold at a price point
 11 lower than Therabody's patented product, (7) diversion of resources to defend against
 12 loss of market share caused by sales of the Infringing Product, and (8) Defendants'
 13 unauthorized sales that are enticing others to offer for sale and sell infringing
 14 attachments that leads to additional irreparable harm described above.
 15                 258. Defendants received notice of their infringement in Therabody's
 16 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 17 portfolio relating to percussive massage devices and attachments, directed them to
 18 Therabody's websites where Therabody identifies patents covering its percussive
 19 massage products, and identified Defendants' infringing products. Thus, Defendants
 20 knew of Therabody's patents, or should have known, and despite such knowledge
 21 Defendants continued selling the Infringing Products and thereby intentionally and
 22 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
 23 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
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   1                               EIGHTEENTH CAUSE OF ACTION
   2                            Patent Infringement, 35 U.S.C. §§ 101 et seq.
   3                                             'D260 Patent
   4                                       (Against All Defendants)
   5                259. Therabody realleges and incorporates by reference all foregoing
   6 paragraphs as if fully set forth herein.
   7                260. At all times herein mentioned the 'D260 Patent was and is valid and fully
   8 enforceable.
   9                261. Defendants are offering percussive massage devices that infringe the
 10 'D260 Patent, including at least the Infringing Attachment, as shown above. As shown
 11 below, a side by side comparison of FIG. 2 of Therabody's 'D260 Patent and
 12 Defendants' Infringing Attachment quickly reveals that the Infringing Attachment
 13 appears substantially the same as Therabody's 'D260 Patent to an ordinary observer;
 14 the resemblance is such as to deceive such an observer, inducing him or her to
 15 purchase one supposing it to be the other. Among other things, an ordinary observer
 16 would conclude that the Infringing Attachment has a number of the same, or very
 17 similar, features as the design patented in the 'D260 Patent that contribute to an overall
 18 appearance that is substantially the same, including that both the patented design and
 19 Infringing Attachment are (a) a circular dome-shaped head that comes to a "flattened"
 20 point; (b) the dome-shaped head is placed atop a bottom piece that decreases in radius
 21 as it approaches the dome-shaped head; (c) the bottom piece has a circular rounded
 22 ridge extending beyond the circumference of the dome-shaped head; (d) the bottom
 23 piece nests under the dome-shaped head and, (e) because of its unique shape relative
 24 to the dome-shaped head, forms a crevice or slot between the dome-shaped head and
 25 the bottom piece:
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   6                262. Defendants have and continue to directly infringe the 'D260 Patent by
   7 making, using, offering for sale, selling and importing the Infringing Attachment in
   8 conjunction with percussive massage devices competitive to Therabody.
   9                263. Defendants' infringement is based upon literal infringement or
 10 infringement under the doctrine of equivalents, or both.
 11                 264. On information and belief, at least since the filing of the complaint,
 12 Defendants have knowingly and actively induced the infringement of one or more of
 13 the 'D260 Patent claims by, inter alia, marketing, promoting, and offering for use the
 14 Infringing Attachment, knowingly and intending that the use of the Infringing
 15 Attachment by Defendants' customers and by users infringes the 'D260 Patent. For
 16 example, Defendants intend to induce such infringement by, among other things,
 17 promoting users to purchase and use the Infringing Attachment knowing that its
 18 purchase and use infringes one or more claims of the 'D260 Patent.
 19                 265. On information and belief, at least since the filing of the complaint,
 20 Defendants have contributed to the infringement of the 'D260 Patent by, inter alia,
 21 marketing and promoting the Infringing Attachment to its customers and users. The
 22 Infringing Attachment is not a staple article or commodity of commerce suitable for
 23 substantial non-infringing use and is known by Defendants to be especially made or
 24 especially adapted to the infringe the 'D260 Patent. As a result, Defendants' Infringing
 25 Attachment has been used by their customers and by users to infringe the 'D260
 26 Patent. Defendants continue to engage in acts of contributory infringement of the
 27 'D260 Patent even after receiving notice of their contributory infringement.
 28

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   1                266. At no time has Therabody granted Defendants authorization, license, or
   2 permission to utilize the design claimed in the 'D260 Patent.
   3                267. Therabody has been damaged by Defendants' acts of infringement of the
   4 'D260 Patent and Therabody will continue to be damaged by such infringement unless
   5 enjoined by this Court. Therabody is entitled to recover damages adequate to
   6 compensate for the infringement under 35 U.S.C. § 284.
   7                268. Therabody is, and has been, irreparably harmed by Defendants' ongoing
   8 infringement including the following harm which cannot be quantified or recouped
   9 through monetary damages: (1) lost market share that will be difficult, if not
 10 impossible, to recoup later as the Infringing Attachment becomes entrenched with
 11 retail sellers and trainers who recommend them to their clients, (2) loss of first mover
 12 advantage that Therabody enjoyed as the first company to offer its innovative
 13 percussive devices and patented attachments, (3) loss of Therabody's investment in
 14 building up the market for percussive devices, (4) negative effect on its reputation as
 15 innovator and pioneer, (5) the unquantifiable effect on lost sales of related products,
 16 (6) price erosion due to Defendants' Infringing Attachment being sold at a price point
 17 lower than Therabody's patented product, (7) diversion of resources to defend against
 18 loss of market share caused by sales of the Infringing Attachment, and (8) Defendants'
 19 unauthorized sales that are enticing others to offer for sale and sell infringing
 20 attachments that leads to additional irreparable harm described above.
 21                 269. Defendants received notice of their infringement in Therabody's
 22 December 15, 2021 email, which notified Defendants of Therabody's extensive patent
 23 portfolio relating to percussive massage devices and attachments, directed them to
 24 Therabody's websites where Therabody identifies patents covering its percussive
 25 massage products, and identified Defendants' infringing products. Thus, Defendants
 26 knew of Therabody's patents, or should have known, and despite such knowledge
 27 Defendants continued selling the Infringing Products and thereby intentionally and
 28

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   1 willfully infringe Therabody's patents warranting an award of attorneys' fees pursuant
   2 to 35 U.S.C. § 285 and an award of enhanced damages pursuant to 35 U.S.C. § 284.
   3                               NINETEENTH CAUSE OF ACTION
   4                                  State Unfair Business Practices
   5                                 (Cal. Bus. & Prof. Code § 17200)
   6                270. Therabody realleges and incorporates by reference all paragraphs above
   7 as if fully set forth herein.
   8                271. Defendants' acts of trade dress and patent infringement alleged herein
   9 constitute unlawful, unfair and fraudulent business practices and misleading
 10 advertising pursuant to Cal. Bus. & Prof. Code § 17200.
 11                 272. Therabody has been damaged and will continue to be damaged by
 12 Defendants' unlawful, unfair and fraudulent business practices and misleading
 13 advertising, as described above.
 14                 273. Pursuant to Cal. Bus. & Prof. Code § 17200, Plaintiff is entitled to an
 15 injunction prohibiting Defendants from continuing the practices described above, and
 16 restitution of all amounts acquired by Defendants by means of such wrongful acts.
 17
 18                                       PRAYER FOR RELIEF
 19                 WHEREFORE, Therabody prays for judgment as follows:
 20                 A.    For an order that, by the acts complained of herein, Defendants have
 21 infringed Therabody's trade dress rights, in violation of 15 U.S.C. § 1125;
 22                 B.    For an order finding that Therabody's Trade Dress is valid and
 23 protectable and that, by the acts complained of herein, Defendants have infringed
 24 Therabody's rights in the Trade Dress;
 25                 C.    For an order temporarily, preliminarily and permanently enjoining
 26 Defendants, and all of their officers, directors, agents, servants, affiliates, employees,
 27 subsidiaries, divisions, branches, parents, attorneys, representatives, privies, and all
 28 others acting in concert or participation with any of them, from using from using the

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   1 Infringing Trade Dress, and any marks or trade dress confusingly similar to any of
   2 Therabody's Trade Dress, or engaging in further acts of unfair competition or
   3 trademark or trade dress infringement;
   4                D.   For an order finding that the Asserted Patents, and each of them, are valid
   5 and enforceable;
   6                E.   For an order finding that Defendants have infringed the Asserted Patents
   7 directly, contributorily, and/or by inducement, literally or by equivalents, in violation
   8 of 35 U.S.C. § 271;
   9                F.   For an order temporarily, preliminarily and permanently enjoining
 10 Defendants, their officers, directors, agents, servants, affiliates, employees,
 11 subsidiaries, divisions, branches, parents, attorneys, representatives, privies, and all
 12 others acting in concert or participation with any of them, from infringing the Asserted
 13 Patents directly, contributorily and/or by inducement, or otherwise engaging in acts
 14 of unfair competition;
 15                 G.   For a judgment directing that any products in the possession, custody or
 16 control of Defendants which infringe any of the Asserted Patents, any of the
 17 Therabody Trade Dress be delivered up and destroyed within 30 days of entry of
 18 judgment;
 19                 H.   For a judgment directing Defendants to recall all such infringing
 20 products and any other materials sold, distributed, advertised or marketed which
 21 infringe any of the Asserted Patents, any of the Therabody Trade Dress;
 22                 I.   For an order directing Defendants to file with the Court, and serve upon
 23 Therabody's counsel, within thirty (30) days after entry of the order of injunction, a
 24 report setting forth the manner and form in which each of them has complied with the
 25 injunction;
 26                 J.   For an order that, by the acts complained of herein, Defendants have
 27 infringed Therabody's common law trademark and trade dress rights and/or engaged
 28 in acts of common law unfair competition against Therabody;

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   1                K.    For an order finding that Defendants' conduct alleged herein was willful
   2 and intentional and in conscious disregard of Therabody's rights;
   3                L.    For compensatory damages in an amount to be proven at trial, including
   4 disgorgement of profits or gains of any kind made by Defendants from their infringing
   5 acts, lost profits and/or reasonable royalty, in amounts to be fixed by the Court in
   6 accordance with proof, including general, statutory, enhanced, exemplary, treble,
   7 and/or punitive damages, as appropriate;
   8                M.    For treble damages pursuant to 15 U.S.C. § 1117;
   9                N.    For an accounting and restitution and disgorgement of all payments,
 10 profits, and revenues Defendants obtained as a result of their wrongful conduct, in an
 11 amount to be proven at trial, including pursuant to 15 U.S.C. § 1117;
 12                 O.    For an order finding that this is an exceptional case, and awarding
 13 Plaintiff's reasonable attorney's fees according to proof;
 14                 P.    For an order awarding Therabody its costs of court; and
 15 For such other and further relief as the Court may deem just and proper.
 16
 17                                     DEMAND FOR JURY TRIAL
 18                 Plaintiff demands trial by jury on all issues so triable.
 19
 20 DATED: December 22, 2021                       JEFFER MANGELS BUTLER &
                                                   MITCHELL LLP
 21
                                                   ROD S. BERMAN
 22                                                STAN M. GIBSON
                                                   GREGORY S. CORDREY
 23
                                                   JESSICA BROMALL SPARKMAN
 24
 25
 26                                                By:         /s/ Gregory S. Cordrey
                                                                 GREGORY S. CORDREY
 27                                                      Attorneys for Plaintiff Therabody, Inc.
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